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                            EXHIBIT 5
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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

   PACIRA BIOSCIENCES, INC.,
                                   Plaintiff,                     Civil Action No. ___________

                          v.
                                                          DECLARATION OF CATHERINE
   AMERICAN SOCIETY OF                                         VANDEPITTE, MD
   ANESTHESIOLOGISTS, INC., et al.,


                                   Defendants.


 I, Catherine Vandepitte, MD, PhD, do hereby declare:

        1.      I am over 18 years of age and have personal knowledge of the information

 contained herein. I currently reside in Belgium. I have my M.D. from the Katholieke

 Universiteit Leuven (K.U.L) in Belgium, where I graduated cum laude in 2003. I also hold a

 PhD in Biomedical Sciences form K.U.L., which I earned in 2018. I am currently employed as

 an attending anesthesiologist at Ziekenhuis Oost-Limburg, a hospital in Genk, Belgium, with a

 subspecialty in Regional Anesthesia and Acute Pain Management. I also currently serve as a

 Senior Research Associate at the New York School of Regional Anesthesia in New York, NY. I

 am not receiving compensation for this declaration.

        2.      Over the past several years, in collaboration with other clinicians, I have

 conducted three clinical studies related to liposomal bupivacaine, a slow-release analgesic

 marketed under the brand name EXPAREL. These studies are:

        a.      Vandepitte C, et al.: Addition of Liposome Bupivacaine to Bupivacaine Hcl

                Versus Bupivacaine Hcl Alone for Interscalene Brachial Plexus Block in Patients

                Having Major Shoulder Surgery. Reg Anesth Pain Med 2017; 42:334–41

                [hereinafter, “Shoulder Study”] (attached as Exhibit A);
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        b.      Vandepitte C, et al.: Effect of Bupivacaine Liposome Injectable Suspension on

                Sensory Blockade and Analgesia for Dupuytren Contracture Release. J. of Hand

                Surgery Global Online 2019; 191-197 [hereinafter, “Hand Study”] (attached as

                Exhibit B); and

        c.      Van Boxstael S, et al.: Analgesia after Hallux Valgus Osteotomy Posterior Tibial

                and Deep Peroneal Nerve Ankle Blocks with Bupivacaine Liposome Injectable

                Suspension+Bupivacaine HCl vs. Bupivacaine HCl vs. General Anesthesia

                Alone: A Randomized Clinical Trial. Clinical Res Foot Ankle 2019, 7:3

                [hereinafter, “Ankle Study”] (attached as Exhibit C).

        3.      Bupivacaine is an analgesic that can be injected directly into a surgical site.

 Liposomal bupivacaine is a modified form of bupivacaine that uses a liposomal encapsulation to

 allow bupivacaine to be released over time, with the intent to prolong pain relief and reduce the

 use of opioids and other pain medications.

        4.      The February 2021 issue of Anesthesiology contained an article by Nasir Hussain,

 MD, MSc, et. al, titled: “Perineural Liposomal Bupivacaine Is Not Superior to Nonliposomal

 Bupivacaine for Peripheral Nerve Block Analgesia.” I will refer to this article as the “Hussain

 Article.”

        5.      The Hussain Article purports to conduct a meta-analysis of randomized trials that

 compared the use of bupivacaine alone to liposomal bupivacaine. Hussain Article at 1

 (description of “Methods”).

        6.      However, despite its stated intended methods, the Hussain Article includes only

 one of my three studies in its analysis, the 2017 Shoulder Study, inexplicably excluding the other

 two studies, even though these satisfy the Article’s eligibility criteria. All three studies found

                                                   2
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 that liposomal bupivacaine improved patients’ pain scores and/or reduced the need for opioids by

 clinically significant margins.

        7.      First, the Hand Study considered patients that underwent surgery to address a

 condition called Dupuytren contracture, a condition in which one or more fingers become

 permanently bent in a flexed state. We conducted a randomized trial of 32 subjects, which were

 split into two groups of 16 patients. The first group received bupivacaine alone, while the

 second group received a mixture of bupivacaine (for an immediate analgesic benefit) and

 liposomal bupivacaine (for continued release over time). Our study found that that the second

 group experienced a sensory block nearly four times longer than subjects in the first group.

 Further, subjects in the second group had improved pain scores on average between 1 to 2 points

 on a 10-point pain scale, without experiencing increased side-effects or impaired function of the

 arm or hand after surgery. Exhibit B at 191, 193-95.

        8.      The Hussain Article asserts (at p. 2) that it searched the U.S. clinical trial registry

 (http://www.clinicaltrials.gov) for eligible studies, as well as conducting a literature search.

 However, the Hand Study was included in that registry but was not included in the Hussain

 Article’s meta-analysis.

        9.      Second, the Ankle Study assessed patients undergoing surgery for bunion repair.

 This study compared three groups of patients. The first group received only general anesthesia

 (14 patients); the second group received bupivacaine alone (14 patients); and the third group

 received a mixture of bupivacaine and liposomal bupivacaine (much like in the Hand Study) (12

 patients). The Ankle Study evaluated whether liposomal bupivacaine, when added to a nerve

 block, reduced patient consumption of opioids. It found that when liposomal bupivacaine was

 used, it decreased average opioid consumption by a clinically significant amount compared to

                                                   3
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 bupivacaine alone and to general anesthesia. Patients receiving liposomal bupivacaine mixed

 with bupivacaine alone had an average consumption of only 9.6 mg of morphine equivalents,

 compared to 26.8 mg in the bupivacaine alone group, and 60.4 in the general anesthesia group.

 Exhibit C at 1000291.

        10.     The Ankle Study was also registered with clinicaltrials.gov but likewise was not

 included with the Hussain Article. Although the Hussain Article did not consider studies that

 used general anesthesia as a comparator to liposomal bupivacaine, because the Ankle Study also

 used bupivacaine alone as a comparator, that brought the study within the eligibility criteria for

 the Hussain Article. Nonetheless, the Hussain Article did not consider the Ankle Study.

        11.     Finally, even though the Hussain Article purports to considers the Shoulder Study

 within its review set, it chooses to exclude it from the Article’s final conclusions due to the

 study’s sponsorship by Pacira, the manufacturer of EXPAREL. However, simply because a

 study is funded by industry does not by itself invalidate the results. A well-designed and

 executed study still provides relevant data. In fact, in many instances, industry-funded research

 can result in some of the most valuable data because the research is well-funded. In fact, FDA

 pharmaceutical approvals are based on research not only funded but actually conducted by the

 manufacturer of a drug, and the world is currently racing to vaccinate the global population for

 the COVID-19 virus based on studies by the vaccination manufacturers. To simply dismiss an

 industry-funded study without articulating any specific concern with respect to the methodology

 or the analysis, as the Hussain Article did, is arbitrary and risks skewing the results of any meta-

 analysis by excluding relevant data. The Shoulder Study was conducted with approval by the

 Ziekenhuis Oost-Limburg (ZOL) Ethics Committee and the Belgian governmental agency




                                                   4
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 (FAGG). It was peer-reviewed and published in the journal Regional Anesthesia and Acute Pain

 Medicine (RAPM).

        12.     The Shoulder Study reviewed 52 adult patients undergoing major shoulder

 surgery. Similar to the other two studies, we divided the subjects into two groups, one receiving

 bupivacaine alone and the other receiving a mixture of bupivacaine and liposomal bupivacaine.

 The Shoulder Study concluded that “Liposome bupivacaine added to standard bupivacaine may

 lower pain and enhance patient’s satisfaction in the first postoperative week even in the setting of

 multimodal analgesia for major shoulder surgery.” Exhibit A at 334. Additionally, in evaluating

 pain scores for the patients’ “worst pain” ratings on a 0-10 scale, those receiving liposomal

 bupivacaine had an average score of 3.6, compared to 5.3 for those receiving bupivacaine alone.

 Id.

        13.     The Hussain Article reaches a negative conclusion of liposomal bupivacaine, but

 entirely fails to consider two of the studies I conducted with positive results and, although it

 identifies the third study, it arbitrarily dismisses the study’s positive conclusion regarding

 liposomal bupivacaine.



 Date: March 30, 2021
                                                       Dr. Catherine Vandepitte, MD, PhD




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                             EXHIBIT A
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                                          REGIONAL ANESTHESIA AND ACUTE PAIN
                                                                 ORIGINAL ARTICLE

 Addition of Liposome Bupivacaine to Bupivacaine HCl Versus
 Bupivacaine HCl Alone for Interscalene Brachial Plexus Block in
           Patients Having Major Shoulder Surgery
       Catherine Vandepitte, MD,* Max Kuroda, PhD, MPH,† Richard Witvrouw, MD,* Ludwig Anne, MD,*
           Johan Bellemans, MD, PhD,* Kristoff Corten, MD, PhD,* Pascal Vanelderen, MD, PhD,*‡
          Dieter Mesotten, MD, PhD,*‡ Ine Leunen, MD,* Micheline Heylen,§ Sam Van Boxstael, MD,*
                           Monika Golebiewski, MD,† Marc Van de Velde, MD, PhD,§
                     Nebojsa Nick Knezevic, MD, PhD,† and Admir Hadzic, MD, PhD*†§


                                                                                        This study was registered with clinicaltrials.gov (NCT02554357) on
 Background and Objectives: We examined whether liposome bupiva-                    July 11, 2015, by Principal Investigator Catherine Vandepitte, MD.
 caine (Exparel) given in the interscalene brachial plexus block lowers pain
 in the setting of multimodal postoperative pain management for major               (Reg Anesth Pain Med 2017;42: 334 341)
 shoulder surgery.
 Methods: Fifty-two adult patients were randomized to receive either
 5 mL of 0.25% bupivacaine HCl immediately followed by 10 mL of lipo-
 some bupivacaine 133 mg (n 26) or 15 mL of 0.25% standard bupiva-
                                                                                    T   he interscalene brachial plexus block (ISBPB) is commonly
                                                                                        used for shoulder surgery1; however, the analgesic benefits
                                                                                    of the block are typically limited to less than 24 hours even with
 caine alone (n 26) in interscalene brachial plexus block. The primary              long acting local anesthetics, such as bupivacaine and ropivacaine.2–5
 outcome (worst pain in the first postoperative week) was assessed by the           To prolong analgesia postoperatively, a number of different adju
 Modified Brief Pain Inventory short form. Secondary outcomes were overall          vants have been studied, albeit with inconsistent analgesic benefit
 satisfaction with analgesia (OBAS), functionality of the surgical arm, sleep du-   and relatively short duration.6–9 Continuous interscalene blocks
 ration, time to first opioid (tramadol) request and opioid consumption (mEq),      (catheters) have also been used to prolong postoperative analge
 sensory-motor block characteristics, and the occurrence of adverse effects.        sia10,11; however, the catheters may dislodge from their therapeu
 Results: Worst pain was lower in patients given liposome bupivacaine               tic position.12 In addition, placement and daily maintenance of
 added to standard bupivacaine than in patients given standard bupivacaine          nerve block catheters typically require higher technical skills and
 alone (generalized estimating equation [GEE] estimated marginal mean               are more time consuming to manage than single injection blocks.
 values, 3.6 ± 0.3 vs 5.3 ± 0.4 points on the Numeric Rating Scale, respec-               Liposome bupivacaine (bupivacaine liposome injectable sus
 tively, although the effect was modest, 1.6 ± 0.5; 95% confidence interval,        pension, Exparel; Pacira Pharmaceuticals Inc, Parsippany Troy
 0.8 2.5). Total OBAS scores indicated greater satisfaction (GEE estimated          Hills, New Jersey) is a multivesicular formulation of bupivacaine
 marginal mean values, 1.8 ± 0.3 vs 3.3 ± 0.4 on total OBAS, respectively,          indicated for soft tissue infiltration into the surgical site to produce
 with modest effect, difference, 1.4 ± 0.5; 95% confidence interval, 0.5            postsurgical analgesia.13–15 Liposome bupivacaine is not approved
 2.4). There were no differences in any of the other secondary outcomes.            by the United States Food and Drug Administration (FDA) for nerve
 Conclusions: Liposome bupivacaine added to standard bupivacaine may                block infiltration. In a dose response study, administration of lipo
 lower pain and enhance patient's satisfaction in the first postoperative week      some bupivacaine in a femoral nerve block in healthy volunteers
 even in the setting of multimodal analgesia for major shoulder surgery.            resulted in neural blockade more than 24 hours.16 Subsequently,
                                                                                    liposome bupivacaine was found to reduce postoperative pain
 From the *Department of Anesthesiology, Ziekenhuis Öost-Limburg, Genk,             and opioid use in patients having total knee replacement with an
 Belgium; †North American Institute of Continuing Education (NAICE), New            adverse effect profile similar to that of placebo.17 However, that
 York, NY; ‡Faculty of Medicine and Life Sciences, Hasselt University,
 Diepenbeek, Belgium; and §Catholic University of Leuven, Leuven, Belgium.
                                                                                    study was designed to meet the FDA standard for approval of an
 Accepted for publication December 2, 2016.                                         algesic agents, which rests on the comparison of investigational
 Address correspondence to: Admir Hadzic, MD, PhD, Ziekenhuis Oost-Limburg          agents versus placebo. Consequently, the study did not offer in
     (ZOL), NYSORA-Europe CREER Center, Schiepse Bos 6, 3600 Genk,                  formation on the efficacy of this new formulation in conjunction
     Belgium (e mail: admir@nysora.com).
 The study was conducted with Ziekenhuis Öost-Limburg (ZOL) Ethics
                                                                                    with existing long acting local anesthetics such as bupivacaine
     Committee and Belgian governmental agency (FAGG) approvals for                 and/or within a clinical setting of multimodal postoperative
     investigational new drugs (EudraCT 2015-001559-55), and was registered         pain management.
     with clinicaltrials.gov (NCT02554357) on July 11, 2015.                              In this study, we tested the ability of liposome bupivacaine to
 Dr. Hadzic has consulted and advised for Philipps, GE, Sonosite, Codman &
     Shrutleff, Inc. (Johnson and Johnson), Cadence, Pacira, Baxter, and
                                                                                    extend the postoperative analgesia of standard bupivacaine in
     B. Braun Medical. His recent industry-sponsored research includes Baxter       ISBPB for patients having major shoulder surgery in a clinical set
     and Pacira Pharma. Dr. Hadzic receives royalty income from                     ting of multimodal postoperative pain management. Because re
     B. Braun Medical.                                                              cently published pharmacokinetic data indicated delayed onset
 Funding: This study was funded by Pacira Pharmaceuticals.
 The rest of the authors declare no conflict of interest.
                                                                                    of bupivacaine release in perineural applications (maximum plasma
 Supplemental digital content is available for this article. Direct URL citations   drug concentration, Cmax, 12 to 36 hours after infiltration),18 we
     appear in the printed text and are provided in the HTML and PDF versions       added liposome bupivacaine to standard bupivacaine and com
     of this article on the journal's Web site (www.rapm.org).                      pared its analgesic effects to that of standard bupivacaine alone.
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     Medicine
                                                                                    Our primary hypothesis was that the worst pain scores in the first
 ISSN: 1098-7339                                                                    postoperative week are lower in patients given liposome bupivacaine
 DOI: 10.1097/AAP.0000000000000560                                                  added to standard bupivacaine compared with patients given

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Regional Anesthesia and Pain Medicine • Volume 42, N um ber 3, May June 2017                                        Uposome Bupivacaine for JSBPB



standard bupivacaine alone. Secondarily, we hypothesized that             Peabody, Massachusetts) was used to identify the interscalene
overall satisfaction with pain management is also improved.               space, and monitor needle placement and distribution of the local
                                                                          anesthetic. After local anesthetic infiltration of the skin Qidocaine
                                                                          2%, 3 5 mL), an insulated block needle (Stimuplex Ultra, 0.7 x
                           METHODS                                        50 mm; B. Braun Melsungen AG, Melsungen, Germany) was
      The study was conducted with Ziekenhuis Oost Limburg                inserted in plane and advanced into the interscalene space berneen
(ZOL) Ethics Committee and Belgian governmental agency (FAGG)             the C5 and C6 nerve roots. Electrical nerve stimulation (Stimuplex
approvals for investigational new drugs (EudraCT 2015 001559 55),         HNS 12; B. Braun Melsungen AG) and an in line injection pressure
and was registered with clinicaltrials.gov (NCT02554357). Fifty           monitor (BSmart; B. Braun) were used to monitor needle placement
two patients, American Society of Anesthesiologists physical status       and injection. To decrease the risk for needle nerve contact or injec
I to ill, 18 years or older who were scheduled for elective major         lions into the roots of the brachia) plexus, injections were halted
shoulder surgery (rotator cuff repair or total shoulder replacement)      when a motor response at 0.5 mA or less (0.1 millisecond) and/or
were enrolled in this prospective double blinded randomized clini         opening injection pressure greater than 15 psi were present. 19
cal study after signing informed consent (Fig. 1). Exclusion criteria     After negative aspiration, the study solutions were slowly injected
included a history of allergy to a local anesthetic, preexisting neu      over 2 to 3 minutes (approximately 10 mLJmin). The same vol
rological deficits, psychiatric or cognitive disorders that could in      urne (15 mL) of injectate was used in both groups.
terfere with perioperative evaluation, recent history (<3 months)
of drug or alcohol abuse, concomitant opioid therapy, preexisting
coagulation disorder, infection at the injection site, or pregnancy.      lntraoperative Procedures
      A computer generated sequence (GraphPad Software Inc, La                 After ISBPB, general anesthesia was induced and maintained
Jolla, California) was used to randomize patients. Allocation was         with a target controlled infusion ofpropofol (3 4 µg k~ 1) and a
concealed in opaque sealed envelopes that were opened by the pri          continuous infusion ofremifentanil (1 2 µg kg 1 ·min ) . Muscle
mary investigator just before performing the ISBPB. Patients were         relaxation at induction was obtained by a single bolus injection of
randomized into 1 of 2 study groups: The liposorne bupivacaine            rocuronium (0.6 mg kg 1) . No other opioids were allowed for an
group received 5 mL of 0.25% standard bupivacaine immedi                  algesia during surgery. Patients were intubated and mechanically
ately followed by 10 mL of liposome bupivacaine (133 mg).                 ventilated in a volume controlled manner (6 8 mL· kg 1); lungs
The standard bupivacaine alone group received 15 mL of 0.25%              were ventilated with 50% (n. End of anesthesia was defined as
standard bupivacaine.                                                     exit of the patient from the operating room after emergence from
                                                                          anesthesia. The multimodal analgesic regimen was initiated intra
                                                                          operatively and consisted of intravenous administration of para
Block Procedure                                                           cetamo~ 1 g; ketorolac, 0.5 mg/kg 1 with a maximum single
     The ISBPB was performed preoperatively with ultrasound               dose of30 mg; and dexamethasone, 5 mg. The regimen was con
guidance and standard American Society of Anesthesiologists               tinued postoperatively and consisted of oral administration of
monitoring. Patients were placed in beach chair position with their       paracetamol, 1 g · 6 h 1; and ibuprofen, 400 mg· 8 h 1. Intravenous
head turned to the contralateral side. A high frequency (18 MHz)          dexamethasone, 5 mg ·24 h 1, was continued for 48 hours. Tram
linear transducer (BK 3000, BK Medical, Analogic Ultrasound,              ado~ 50 mg, was prescnbed sublingually every 4 hours as needed
Herlev, Denmarlc Ultrasound; Division of Analogic Ultrasound,             for breakthrough pain.


                                                             Assessed for
                                                             eligibility (n=64)




           I                                                 I Randomized (n=52) I
                                                                         l
                                                                                             ..Excluded (n=12)
                                                                                             .
                                                                                                 Not meeting Inclusion criteria (n=9)
                                                                                                 Declined to participate (n=O)
                                                                                                 Other reasons (n=3)




           I
                                     J.                                                                                   ♦
                      Allocated to liposome                                                               Allocated to standard
                      bupivacaine + standard                                                              bupivacaine alone (n=-26)
                      bupivacaine (n=26)



                                                                                                                          •
           I                        '
                      Lost to follow-up (n=O)




                                     l
                                                                                                          Lost to follow-up (n=-2)




                                                                                                                          l


           I          Analyzed (n=-26)                                                                     Analyzed (n=24)




FIGURE 1. CONSORT diagram.


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 Outcomes                                                                     Sensory block in the shoulder area was assessed by pinprick
                                                                         with a paperclip in the distribution of the axillary nerve (skin of
 Primary                                                                 the deltoid area) and was rated on a scale of zero (no sensation)
      The Modified Brief Pain Inventory (MBPI) Short Form was            to 10 (normal sensation). Motor block of the deltoid muscle was
 used to assess worst pain in the first postoperative week (POD1,        rated on a scale of zero (no strength) to 10 (full strength) upon
 POD2, POD3, POD4, and POD7).20 Specifically, question 1 of              arm abduction. An evaluator blinded to group assignment ob
 the MBPI asks patients to rate pain at its WORST in the last            tained sensory and motor block ratings at baseline and every
 24 hours on an 11 point Numeric Rating Scale (NRS) ranging              5 minutes until 30 minutes, and at 1, 2, 12, 24, and 48 hours
 from zero (no pain) to 10 (pain as bad as you can imagine). The         (discharge POD1).
 MBPI short form has been previously reported to be reliable, in              Use of opioids (recorded in a diary provided to the patients
 ternally consistent over time, and to have good convergent and          before discharge) and adverse effects, including sensory motor
 concurrent validity when administered daily for 1 week (days            deficits, such as tingling, numbness, and weakness, were obtained
 1 7). Moreover, these findings held when the individual pain            by phone calls to the patients on POD2, POD3, POD4, and POD7.
 items of the MBPI (worst pain, average pain, and pain now) were
 tested.20 Importantly, the item “Pain at its worst in the last
                                                                         Blinding
 24 hours” fulfilled the expectations of the FDA Guidance for In
 dustry on the use of patient reported outcomes with regard to con             Liposome bupivacaine (opaque white) has a different appear
 ceptual framework, reliability, construct validity, and ability to      ance than standard bupivacaine (clear colorless). At the time this
 detect clinically meaningful change.21 The MBPI is shown in Ap          study was conducted (July to December 2015), coadministration
 pendix 1 (Supplemental Digital Content 1, http://links.lww.com/         of liposome bupivacaine required separate injections, as the
 AAP/A189).                                                              mixing of liposome bupivacaine with standard bupivacaine was
                                                                         not recommended by the FDA. Before treatment, assignment en
                                                                         velopes were opened by the primary investigator; all blinded staff
 Secondary                                                               were removed from the block room and remained out of the block
                                                                         room during drug administration. Surgeons were unaware of the
       Perspectives of studies examining the pain experience have
                                                                         assigned treatment, and every effort was made to ensure that pa
 broadened to include some functional and socioemotional compo
                                                                         tients were blinded to their treatment group. In particular, syringes
 nents.20 Hence, we included satisfaction with pain treatment,
                                                                         with study medication were masked with cloth tape, making it im
 functionality of the surgical arm, sleep duration, and postoperative
                                                                         possible to distinguish between the treatment and placebo
 use of opioids as secondary outcomes. Block characteristics and
                                                                         injectates. Moreover, a yellow pole tag denoting status as a re
 adverse effects were also included to confirm drug safety.
                                                                         search subject warned staff that no discussion of the research
       Satisfaction with pain treatment was reported on the Overall
                                                                         was to occur in the patient's presence. Blinded staff conducted
 Benefit of Analgesia Score (OBAS) that was collected on POD1,
                                                                         the sensory motor assessments after the block injections had been
 POD2, POD3, POD4, and POD7. Total OBAS scores are ob
                                                                         administered. The blinded staff conducted all patient follow up as
 tained from the 7 item OBAS (Supplemental Digital Content 2,
                                                                         sessments; unblinded staff were not present during the follow
 http://links.lww.com/AAP/A190) by summing responses from
                                                                         up assessments.
 the first 6 questions and adding the difference of 4 minus the re
 sponse to question 7, that is, summing Q1 through Q6 and adding
 (4 score from Q7); hence, lower total scores indicate more benefit.22   Statistical Analysis
       As there is no criterion standard for patient or physician as           The sample size for this study was based on the 11 point
 sessment of shoulder function, published measures were consid           NRS for worst pain score in the last 24 hours as stated in the MBPI
 ered for their validity, reliability, applicability to our specific     short form [from zero (no pain) to 10 (“pain as bad as you can
 patient population, and response burden (understandability and          imagine”)]. As liposome bupivacaine is released gradually after
 ease of use). It was ultimately decided to adapt the scale of the       administration, an arbitrary time point (POD2) was deemed ap
 Constant Murley score (CS) that has been recommended as the             propriate for sample size estimation. The pain categories of 0 to
 scoring system of the European Society of Shoulder and Elbow            3 (none to mild), 4 to 7 (moderate), and severe (8+) were used
 Surgery and has become the most commonly used outcome mea               to guide selection of a minimal clinically important difference to
 sure for assessing the impact of shoulder interventions. Moreover,      detect. As 3 to 4 NRS points span these categories, a minimal clin
 it has been validated for rotator cuff repair and total shoulder        ically important difference of 3 points was deemed important to
 arthroplasty. The CS domains of activities of daily living (work,       detect, and with standard deviation 2.5, Type I error 0.01, and
 recreation/sports, sleep) are each on a 6 point Likert scale from       power 0.9, the sample size was estimated at 23 per group.20 Three
 zero (worst) to 5(best).23,24 We combined these into a global scale     additional patients per group were included in the event of loss
 of arm function that is on a 6 point Likert scale: zero,unable to use   to follow up.
 arm; 1,only slight activities possible; 2,able to do some daily ac            Generalized estimating equations (GEEs) with robust stan
 tivities; 3,able to do most daily activities; 4,slight restrictions     dard errors were used to examine differences between groups over
 only; 5,normal activities.                                              time. The GEE is flexible with respect to type of outcome variable
       Hand strength was measured using a dynamometer (Jamar,            (including possibly skewed continuous distributions and ordinal
 Duluth, Minnesota) that recorded maximum force in kilograms.            measures) and to unequally spaced observations over time. For in
 Patients were asked to squeeze the handle of the dynamometer            stance, worst pain, total OBAS, and sleep duration were collected
 while keeping their elbow flexed at a right angle. Measurements         from POD1 to POD4 and then on POD7; in contrast, sensory and
 were done bilaterally in triplicates, and their mean values were cal    motor block were tested in 5 minute intervals until 30 minutes and
 culated. An evaluator blinded to group assignment measured hand         then at 1, 2, 12, 24, and 48 hours. In GEE analyses, a conservative
 strength at baseline, 1 and 2 hours postoperatively, and at POD1.       unstructured correlation structure was used in order not to assume
       Duration of sleep (hour) in the first postoperative week was      the relative magnitude of correlation between any 2 pairs of obser
 obtained by phone calls to the patients on POD1, POD2, POD3,            vations (although GEE is robust against choosing an incorrect cor
 POD4, and POD7.                                                         relation structure). Link function was identity for these continuous

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                                                    liposome bupivacaine and bupivac.aino   -      Bupivacaine aJonc
                                      10
                                      9
                                      8
                                "'~
                                0
                                CJ
                                      7
                                                                                                                       f
                                "'C   6
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                                      Pre-surgery       POD1               POD2                 POD3             POD4          POD7

 FIGURE 2 . Worst pain scores (NRS mean ± SEM} at baseline, POD1, POD2, POD3, POD4, and POD7 in patients receiving ISBPB for shoulder
 surgery with 15 ml liposome bupivacaine added to standard bupivacaine (10 mV133 mg liposome bupivacaine + 5 ml 0.25% standard
 bupivacaine) (n = 26) or 15 ml 0.25% standard bupivacaine alone (n = 24) for postoperative pain management. Differences from worst pain
 at baseline (NRS mean ± SEM) are also graphed for POD1, POD2, POD3, POD4, and POD7 by group.



 TABLE 1. Sociodemographic Characteristics and Clinical Features of 50 Patients Undergoing ISBPB for Major Shoulder Surgery With
 15 m l Liposome Bupivacaine Added to Standard Bupivacaine (10 ml/133 mg Liposome Bupivacaine + 5 m l 0.25% Standard
 Bupivacaine) (n =26) or 15 m l 0.25% Standard Bupivacaine Alone (n =24) for Postoperative Pain Management

                                                       Liposome Bupivacaine + Standard                 Standard Bupivacaine      Standardized Differences
                                                             Bupivacaine (n = 26)                            (n = 24)            For Continuous Variables
 Sex,M:F                                                                  13:13                                 10:14
 Age,y                                                                   61 ± 11                               57 ± 12                        4±3
 Body mass index, kg/m2                                                  28 ±4                                 27± 5                        1.7 ± 1.3
 ASA physical status
   I                                                                      6 (23)                                 7 (29)
   II                                                                    19 (73)                                17 (7 1)
   Ill                                                                    I (4)                                    0
 Surgical side, R:L                                                       14:12                                  18:6
 Surgery type
   Rotator cuff                                                          20 (77)                               20 (83)
   Shoulder replacement                                                   6 (23)                                4 (17)
 Hand strength of surgical arm, kg                                       27 ± 13                               27± 12                      0.4 ± 3.5
 Functionality of surgical arm
   Unable to use                                                            0                                      0
   Only light activi1Y                                                    6 (23)                                 4 ( I 7)
   Able to do some activities                                             4 (15)                                 8 (33)
   Able to do most activities                                             9 (35)                                 7 (29)
   Slight restrictions only                                               7 (27)                                 4 ( I 7)
   Normal                                                                   0                                    I (4)
 Worst pain in last 24 h (NRS)*                                         6.1 ± 2.8                              5.8 ± 3.0                   0.4 ± 0.8
 Pain relief by medication(s) in last 24 h (%)t                          54± 32                                 46±27                      8.2 ± 9.4
    Data are mean± SD for continuous variables, and n (%) for discrete (nominal, ordinal) variables.
    *Modi tied Brief QI asks the patientto mark the number that best de9::ribes his/her pain at its worst in the last 24 hours on NRS from zero (no pain) to I 0
 ("pain as bad as you can imagine").
    t Modified BriefQ5 asks the patient to mark percent pain relief(from 0% to 100% in 10% inaements) from medications in the last24 hours.
    ASA indicates American Society of Anesthesiologists.


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 outcome measures. In addition, since pain is a subjective phenom             did not differ in their sociodemographic characteristics or clinical
 enon, each patient served as his/her own control when evaluating             features. Before surgery, most patients reported at least some
 pain differences from baseline at each time point by group (Fig. 2).         restrictions in the use of their surgical extremity. At baseline,
 P values from these t tests were Bonferroni adjusted for multiple            worst pain in the last 24 hours was generally rated as moder
 comparisons (0.05/5 0.01).                                                   ately high, but patients in both groups reported approximately
       Tests of differences between groups for reported adverse ef            50% relief from their pre enrollment analgesic regimen in the
 fects were not planned as the number of each adverse effect was              last 24 hours (Table 1).
 anticipated to be small, and patients could report more than one
 adverse effect. Instead, the relative risk (with 95% confidence in
 terval [CI]) for at least one adverse effect within the first postoper       Worst Pain
 ative week was reported.                                                           When compared with pain before surgery (baseline), the groups
       All analyses were performed using IBM SPSS Statistics for              did not differ at any of the postoperative days studied (Fig. 2).
 Windows (version 22.0; IBM Corp, Armonk, NY).                                Worst pain scores (NRS) were consistently lower in the first post
                                                                              operative week for patients given liposome bupivacaine added to
                                                                              standard bupivacaine than for patients given standard bupivacaine
                              RESULTS                                         alone (GEE, Wald χ2, P 0.001) (Fig. 2). However, the overall
      Two patients, both randomly assigned to the standard bupiva             difference was modest (estimated marginal mean values, 3.6 ± 0.3 vs
 caine alone group, were excluded, as data collection during the              5.3 ± 0.4 points on the NRS, respectively; difference, 1.6 ± 0.5;
 follow up period was inadvertently missed (Fig. 1). The groups               95% CI, 0.8 2.5).


 TABLE 2. Total Overall Benefit of Analgesia Score (OBAS), Functionality in the Surgical Arm, Sleep Duration, and Opioid Consumption
 of Patients Undergoing ISBPB for Major Shoulder Surgery With 15 mL Liposome Bupivacaine Added to Standard Bupivacaine
 (10 mL/133 mg Liposome Bupivacaine + 5 mL 0.25% Standard Bupivacaine) (n = 26) or 15 mL 0.25% Standard Bupivacaine
 Alone (n = 24) for Postoperative Pain Management

                                                                                              Postoperative Day (POD)
                                                               POD1                POD2                POD3                POD4               POD7
 OBAS (total)*
   Liposome bupivacaine + standard bupivacaine                1.4 ± 2.1           1.8 ± 1.9          2.0 ± 2.9           2.2 ± 2.2           1.9 ± 2.3
   Standard bupivacaine                                       2.8 ± 2.8           3.3 ± 2.7          3.2 ± 2 2           3.6 ± 2.8           3.3 ± 3.2
      Unadjusted t test P value                                 0.05                0.03               0.12                0.05                0.08
 Functionality of surgical arm†
   Liposome bupivacaine + standard bupivacaine
      Unable to use                                                                 6 (23)             2 (8)               2 (8)               1 (4)
      Only light activity                                                          10 (39)             7 (27)              4 (15)              2 (8)
      Able to do some activities                                                    7 (27)            11 (42)             13 (50)             13 (52)
      Able to do most activities                                                      0                2 (8)               3 (12)              6 (24)
      Slight restrictions only                                                      2 (8)              3 (12)              3 (12)              2 (8)
      Normal                                                                        1 (4)              1 (4)               1 (4)               1 (4)
   Standard bupivacaine
      Unable to use                                                                 5 (21)              2 (9)              3 (13)              3 (12)
      Only light activity                                                          11 (46)              7 (30)             7 (30)              3 (12)
      Able to do some activities                                                    6 (25)              7 (30)             5 (22)              9 (38)
      Able to do most activities                                                    2 (8)               3 (13)             3 (13)              3 (12)
      Slight restrictions only                                                        0                 3 (13)             3 (13)              4 (17)
      Normal                                                                          0                 1 (4)              2 (9)               2 (8)
      Unadjusted χ2 P value                                                          0.4                 1.0                0.4                 0.6
 Sleep duration, h
   Liposome bupivacaine + standard bupivacaine                4.5 ± 0.5           5.0 ± 0.4          5.4 ± 0.4           5.8 ± 0.4           6.1 ± 0.3
   Standard bupivacaine                                       4.9 ± 0.6           5.5 ± 0.5          5.4 ± 0 5           5.6 ± 0.5           5.5 ± 0.5
      Unadjusted t test P value                                  0.7                 0.4                1.0                 0.8                 0.3
 Opioid (tramadol) consumption, mEq
   Liposome bupivacaine + standard bupivacaine                0.6 ± 0.6           2.6 ± 0.9          2.3 ± 0.8           2.5 ± 0.8           2.4 ± 0.9
   Standard bupivacaine                                       0.4 ± 0.3           1.6 ± 0.6          3.2 ± 1.4           2.7 ± 1.0           2.6 ± 0.8
      Unadjusted t test P value                                  0.8                 0.3                0.5                 0.9                 0.9
    *Total OBAS score: sum items Q1 through Q6 and add [4 score from Q7]; hence, lower total scores indicate more benefit.
    †Functionality of surgical arm was not assessed on POD1.
    Descriptive data with unadjusted P values are mean ± SEM for continuous variables, and n (%) for ordinal variables at hospital discharge (POD1) and
 during the first postoperative week (POD2, POD3, POD4, and POD7).


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                                                   P0D1              POD2              POD3                 POD4            POD7
                                                 Uposome buplvaeaine and buplvaeaine     -      Buplvacaine alone

 FIGURE 3. Total OBAS (mean± SEM} at POD1, POD2, POD3, POD4, and POD7 by group. Lower scores indicate higher satisfaction with
 postoperative pain management


 Satisfaction With Pain Management                                                Sleep Duration
       Lower OBAS total scores indicate greater benefit and were                      Jn the first postoperative week, sleep duration did not differ
 consistently lower for patients given liposome bupivacaine added                 between patients given liposome bupivacaine added to standard
 to standard bupivacaine than for patients given standard bupivacaine             bupivacaine and patients given standard bupivacaine alone (GEE,
 alone (GEE, Wald x 2, P 0.004) (Table 2); the overall difference                 Wald x 2, P 0.7; estimated marginal mean values, 5.4 ± 0.3 vs
 was modest (estimated marginal mean values, 1.8 ± 0.3 vs                         5.3 ± 0.3 hours, respectively) (Table 2).
 3.3 ± 0.4 points on the OBAS total score, respectively; difference,
 1.4 ± 0.5; 95% CI, 0.5 2.4) (Fig. 3).                                            Sensory and Motor Characteristics
                                                                                       Block onset time ( minutes) did not differ significantly between
                                                                                  patients given liposorne bupivacaine added to standard bupivacaine
 Functionality and Hand Strength                                                  and patients given standard bupivacaine alone, 24.5 ± 20.9 vs
        Per institutional protocol, the surgical arm could not be mo              14.4 ± 7.3 minutes, respectively (P             0.17); mean differ
 bilized for 24 hours; thus, functionality could not be measured on               ence ± SEM, 10 ± 7 minutes, 95% CI, 25 to 5 minutes.
 POD 1. However, functionality did not differ between the groups                       Shoulder sensation and motor abduction did not differ be
                                                                                  tween the groups over time (GEE, Wald x 2, P 0.9 and P 0.7,
 through the remainder of the first postoperative week (GEE, Wald
                                                                                  respectively) (Table 3).
 X 2 , P 0.40)(Table 2).
        Hand strength (kg) varied over time but was similar between
 the groups throughout the interval of data collection. Specifically,             Opioid Consumption, Adverse Effects
 hand strength decreased to 6.8 ± 4.3 kg (for both groups) by 1 hour                    Time to first request for opioids did not differ between pa
 and rose to 17.5 ± 11.1 kg (for both groups) by POOL                             tients given liposorne bupivacaine added to standard bupivacaine


 TABLE 3. Sensory and Motor Scores by Group Over Time

                       0 min         5 min     10 min     15 min     20 min     25 min        30 min       111        211      1211     2411      4811
 Sensory
   Liposome          9.5 ± 0.2 7.5 ± 0.5 6.5 ± 0.6 5.9 ± 0.6 4.6 ± 0.5 3.7 ± 0.4 3.0 ± 0.4 1.9 ± 0.4 2.7 ± 0.6 4.1 ± 0.7 6.5 ± 0.8 6.7 ± 0.8
     bupivacaine
     added
   Standard          9.4 ± 0.2 7.0 ± 0.5 5.5 ± 0.6 4.4 ± 0.5 2.7 ± 0.5 1.6 ± 0.3 I.I ± 0.3 1.6 ± 0.4 2.4 ± 0.6 3.9 ± 0.7 7.5 ± 0.7 7.7 ± 0.7
     bupivacaine
     only
 Motor
   Liposome           8.3 ± 0.6 7.3 ± 0.6 6.5 ± 0.6 5.6 ± 0.7 4.7 ± 0.7 4.2 ± 0.7 4.0 ± 0.6 1.0 ± 0 3 1.2 ± 0.3 1.5 ± 0.4 3.1 ± 0.6 3.6 ± 0.7
     bupivacaine
     added
   Standard           7.3 ± 0.7 5.7 ± 0.6 4.1 ± 0.7 3.0 ± 0.7 2.5 ± 0.6 1.9 ± 0.6 1.8 ± 0.6 0.7 ± 0 2 0.9 ± 0.2 I.I ± 0.3 4.1 ± 0.6 4.4 ± 0.6
     bqxvacaine Cllly
    Data are mean ± SEM.


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 TABLE 4. Adverse Effects Reported by Patients Undergoing ISBPB for Major Shoulder Surgery With 15 mL Liposome Bupivacaine
 Added to Standard Bupivacaine (10 mL/133 mg Liposome Bupivacaine + 5 mL 0.25% Standard Bupivacaine) (n = 26) or 15 mL
 0.25% Standard Bupivacaine Alone (n = 24) for Postoperative Pain Management

                                                              Liposome Bupivacaine + Standard
 Adverse Effect*                                                    Bupivacaine (n = 26)                               Standard Bupivacaine (n = 24)
 Unique patients reporting adverse effects†                                   17 (65)                                               10 (42)
 Hoarseness                                                                   14 (82)                                                7 (70)
 Dizziness                                                                     5 (29)                                                4 (40)
 Ear ringing                                                                   3 (18)                                                1 (10)
 Metallic taste                                                                1 (6)                                                 2 (20)
 Shortness of breath                                                                                                                 4 (40)
 Vision impairment                                                             1 (6)
 Pulmonary embolism‡                                                           1 (6)
    Data are descriptive, n (%).
    *Total percentages do not sum to 100%, as some patients reported more than 1 adverse effect; percentages of specific adverse effects are based on n 17
 and n 10 who reported adverse effects in the liposome bupivacaine added to standard bupivacaine and the standard bupivacaine alone groups, respectively.
    †Relative risk for at least 1 adverse effect 1.6 (95% CI, 0.9 2.7).
    ‡This patient had an extensive workup. The source of the adverse effect was determined to be deep venous thrombosis in the lower extremity that oc-
 curred unrelated to study treatment.


 and patients given standard bupivacaine alone, 43.3 ± 39.4 vs                  concentrations of local anesthetics.25–27 In our study, none of the
 46.3 ± 41.0 hours, respectively (P 0.8). Total tramadol (mEq)                  patients reported prolonged respiratory symptoms. As with the
 consumption in the first postoperative week did not differ between             study of liposome bupivacaine in femoral nerve block, we did
 the groups, 16.7 ± 21.9 vs 23.7 ± 23.4 mEq, respectively (shown                not record any neurologic adverse effects or complications that
 by POD in Table 2).                                                            could be due to the toxicity of the liposome bupivacaine mixture.17
      All adverse effects were reported on POD1 (Table 4). Seven                      We chose to combine liposome bupivacaine with standard
 teen patients given liposome bupivacaine added to standard bupiv               bupivacaine in our study because pharmacokinetic studies indi
 acaine (65%) and 10 patients given standard bupivacaine alone                  cated that the plasma level of bupivacaine rises significantly only
 (42%) reported adverse effects. Risk for complications was                     after 16 to 24 hours after application.18 Although the plasma level
 not elevated in patients given the liposome bupivacaine mix                    of local anesthetic may not be indicative of the amount of drug
 ture (RR, 1.6; 95% CI, 0.9 2.7).                                               available at the injection site to effect neural blockade, its pharma
                                                                                codynamic effects as assessed by plasma levels should correlate
                                                                                with the release of drug locally. We reasoned that since the suspen
                            DISCUSSION                                          sion of liposome bupivacaine contains 3% [7.98 mg] free bupivacaine
       Over the first postoperative week, worst pain scores were lower          (of 266 mg contained in liposomes), 10 mL of the suspension
 in patients given liposome bupivacaine added to standard bupivacaine           could have only 4 mg of the free drug, which may not be sufficient
 than in patients given standard bupivacaine alone. However, these              for effective ISBPB. Therefore, assuming an adequate quantity of
 modest findings did not translate into improvements in pain com                the drug would be released from liposomes after 16 to 72 hours,17,18
 pared with baseline, reductions in opioid consumption, or sleep                we injected 10 mL of liposome bupivacaine immediately after
 quality. It is possible that the observed differences could be greater         injection of 5 mL of 0.25% standard bupivacaine (12.5 mg) to
 in patients who have contraindications to some elements of multi               achieve an early onset peripheral nerve block until active drug is
 modal analgesia therapy, such as to nonsteroidal anti inflammatory             released. However, we had no data to guide the dosing of lipo
 drugs (eg, renal or upper gastrointestinal disease), dexamethasone             some bupivacaine for interscalene blockade when making this
 (diabetes), or acetaminophen (liver disease). The observed effect              methodologic choice; rather, our dosing was based on clinical ob
 in the postoperative interval studied may be related to sympathetic            servations during infiltration of liposome bupivacaine into the sur
 blockade from the gradual release of small amounts of bupivacaine              gical site, and we chose a fixed sequenced injection of 0.25%
 base as the liposomes degrade. Unfortunately, detailed sensory as              standard bupivacaine and liposome bupivacaine to constitute the
 sessments in our study were hindered by the clinical setting and               combined 15 mL volume commonly used for ISBPB. Nonethe
 the presence of surgical dressings, ice cooling, and/or tissue swell           less, it is possible that different volumetric ratios of liposome bu
 ing of the arm from water instillation during shoulder surgery.                pivacaine and standard bupivacaine and/or different concentrations
       In addition, the absence of immediately available opioid                 of standard bupivacaine may alter our findings. Of note, at the time
 treatment via intravenous patient controlled analgesia makes it                our study was conducted, mixing standard bupivacaine with lipo
 challenging to establish the relationship between intervention                 some bupivacaine was not recommended by the FDA; therefore,
 (eg, ISBPB) and analgesia using oral opioids. There may be mul                 we injected liposome bupivacaine immediately after injecting
 tiple obstacles and delays in patients' requests for oral opioids and          standard bupivacaine using 2 different syringes in a sequenced in
 their delivery by nurses, such as in the presence of nausea and the            jection process. Consequently, we do not know whether mixing
 inability to take pills. Oral opioid therapy can be even more vari             standard bupivacaine with liposome bupivacaine, which is now
 able at night when nursing staff is less.                                      allowed in the drug label, would yield similar results.
       Interscalene brachial plexus block results in phrenic nerve                    In conclusion, patients having ambulatory major shoulder
 block in many patients; however, most studies that report high                 surgery experience prolonged moderate to severe pain in the set
 incidence of phrenic blockade have used higher volumes or                      ting of a multimodal approach to analgesia and peripheral nerve

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                             EXHIBIT B
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Original Research

Effect of Bupivacaine Liposome Injectable Suspension on Sensory
Blockade and Analgesia for Dupuytren Contracture Release
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ART I CLE            I NFO

Article history:                                      Purpose: To study the efficacy of bupivacaine liposome injectable suspension in prolonging sensory
Received for publication April 16, 2019               blocks of the median and ulnar nerves for subjects with Dupuytren contracture release by collagenase
Accepted in revised form September 6, 2019            injection. We hypothesized that combining liposome bupivacaine and bupivacaine hydrochloride would
Available online October 21, 2019                     extend the duration of blocks without added complications.
                                                      Methods: We randomized 32 subjects scheduled for Dupuytren contracture release with collagenase
Key words:                                            Oostridium histolyticum injections to receive forearm blocks of the median and ulnar nerves with a
bupivacaine liposome injectable suspension            mixture of 5 ml liposome bupivacaine 1.33%plus 2.5 ml bupivacaine hydrochloride 0.5% per nerve (n =
collagenase Qostridium hisrolyticum
Dupuytren contracture release
                                                      16) or 7.5 ml bupivacaine hydrochloride 0.5%alone per nerve (n = 16). Sensory block and analgesia were
forearm block                                         assessed through the first posttreatment week.
                                                      Results: Sensory block was nearly 4 times longer in subjects who received the liposome bupivacaine
                                                      mixture compared with subjects who received bupivacaine hydrochloride alone. Most subjects (13 of16)
                                                      who received the liposome bupivacaine mixture had adequate analgesia for finger manipulation to
                                                      rupture the cords, whereas most subjects (15 of 16) who received bupivacaine hydrochloride alone
                                                      required additional anesthesia. Subjects in the liposome mixture group reported lower pain scores
                                                      through the first 3 days after treatment There were no serious side effects.
                                                      Condusions: Addition of liposome bupivacaine to forearm blocks for Dupuytren contracture release
                                                      prolonged sensory block and improved pain scores without increasing side effects or impairing hand
                                                      function. Supplemental lidocaine injections for the painful phases of Dupuytren contracture release with
                                                      collagenase C histolyticum injections were not required by most subjects who received liposome
                                                      bupivacaine.
                                                      Type of study/level of evidence: Therapeutic I.

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    Dupuytren contracture is a common disease of the connective                           The cords of these contractures can be enzymatically weak
tissue of the hand in which the formation of subcutaneous nodules                      ened after injection of collagenase Clostridium histolyticum
and cords causes disabling flexion contracture of one or more                          (CCH), allowing the fingers to be manipulated to break up the
fingers.1•2                                                                            cords.3
                                                                                          Pain is caused by multiple injections of collagenase into the
                                                                                       cords (phase 1 of treatment), during manipulation of the fingers to
    Declaration of interests: Admir Hadzic serves a consultant for Pacira Phar-        break up the cords (phase 2, 24 to 72 hours after injection), and
maceuticals and has received consulting honoraria and educational and research         from the inflammatory response, which can last several days.4 Ideal
grants. No benefits in any form have been received or will be received by the other    analgesia would provide adequate pain relief for all phases of
authors related directly or indirectly to the subject of this article.
    Corresponding au thor: Admir Hadzic, MD, PhD, Department of Anesthesi-
                                                                                       treatment (Fig. 1). Although forearm (median and ulnar) neive
ology, Schiepse Bos 6, Ziekenhuis Oost- Umburg, 3600 Genie, Belgium.                   blocks can provide adequate analgesia for phase 1 of treatment,
    E-mail address: admir@nysora.com (A Hadzic).                                       they have a relatively short duration. 5•6
https://doi.org/10.1016/j.jhsg.2019.09.008
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G              PHASEI
           Injection of CCH
           o Dupuytren cords
                              ~                                       4
                                                                                          www.clinicaltrials.gov (NCT03106519) in March, 2017. Patients
                                                                                          scheduled for Dupuytren contracture release who were aged 18 to
                                                                                          85 years, had an American Society of Anesthesiologists physical
                                                                                          status of I to III, and were able to understand the purpose and risks
                                                                                          of the study were eligible to participate. Patients were excluded if
                                                                                          they were pregnant, had a history of allergic or adverse reaction to
                                                                                          local anesthetics, used pain medications within 28 hours before

r
                  V                       I
                                                                                          treatment, had a suspected or known recent history (less than 3
                                                                                          months) of drug or alcohol abuse, had an infection at the planned
                                                                                          block site, had a body mass index greater than 44 kg/m2, or had any
      INFLAMMATORY REACTION
              4-72 hours
                                                                      4                   chronic condition or psychiatric disorder that could compromise
                                                                                          neurological or study assessments.
                                 __J                                                          Consenting subjects were randomized in a computer generated
'--                                                                             ~         1:1 ratio to receive a mixture of 5 mL bupivacaine liposome

~
                   JJ                                                           z         injectable suspension 1.33% plus 2.5 mL bupivacaine HCl 0.5% or 7.5
                                                                                          mL bupivacaine HCl 0.5% alone to the median and ulnar nerves
              PHASE II                                                                    before CCH injection (Xiapex, Swedish Orphan Biovitrum, AB,
      Manipulation of the fingers
          to break the cords
        48 hours after injection
                                                                      4                   Stockholm, Sweden). Each subject received a total drug volume of
                                                                                          15 mL (7.5 mL/nerve). The traditional bupivacaine HCl used in
~                                        J                                                common clinical practice was mixed with the extended release

 ,                 0                                                                      formulation of liposome bupivacaine (EXPAREL). This model has
                                                                                          been used to facilitate early interscalene brachial plexus block
                                                                                          onset and prolong block duration.
      INFLAMMATORY REACTION                                                                   After treatment, all subjects received the standardized multi
              76-92 hours                                             4                   modal regimen for pain control with acetaminophen 1 g every 6
                                                                                          hours and diclofenac 75 mg 2 times daily. Transmucosal tramadol
~                                                                                         50 mg (every 6 hours as needed) was used for breakthrough pain. In
                                                                                          addition, subjects received rescue medication upon request for
Figure 1. Phases of treatment in Dupuytren contracture release with CCH injections.
                                                                                          breakthrough pain or as necessary upon discharge home.
                                                                                              Anesthesiology staff members performing the nerve blocks
    A recent study4 reported that 43% of patients had severe pain                         were not blinded to drug treatment but did not participate in
during ﬁnger manipulation even when analgesia was provided                                subject assessments. Surgeons and research personnel were blin
with a wrist block (10 mL of 2% mepivacaine); 53% of patients had                         ded to drug treatment because blocks were performed in a separate
pain after injection of collagenase despite treatment with an oral                        procedure room outside the operating theater. Subjects were not
analgesic combination of acetaminophen 650 mg, ibuprofen 600                              told their allocated treatment. A strict blind was maintained so that
mg, or metamizole 575 mg every 8 hours. Bupivacaine liposome                              the surgeon (who injected CCH and then manipulated the ﬁngers)
injectable suspension (EXPAREL, Pacira Pharmaceuticals, Inc, Par                          and the research personnel (who conducted the follow up assess
sippany, NJ) is an extended release formulation of a local anesthetic                     ments of the subjects) would not know the assigned drug arms. The
that has been approved by the Food and Drug Administration for                            use of supplementary local anesthesia was based on subject request
inﬁltration into the surgical wound, and recently (April, 2018) for                       for pain relief and not the surgeon’s perception of need. Subjects
use in interscalene brachial plexus blocks. Although the efﬁcacy of                       left the hospital facility on the same day of the CCH injection.
liposome bupivacaine for postoperative pain has been studied with
respect to soft tissue inﬁltration,7 it has not been examined in the                      Nerve blocks
median and ulnar nerve blocks of the forearm. Thus, although local
blocks can be used for CCH treatment of Dupuytren contracture, we                             Study medication (bupivacaine liposome injectable suspension
chose forearm nerve blocks to study the effects of liposome bupi                          mixed with bupivacaine HCl or bupivacaine HCl alone) was
vacaine in the small peripheral nerves.                                                   administered at least 30 minutes before CCH injection and was
    The objective of this study was to evaluate the analgesic beneﬁt                      deposited in the tissue plane around the median and ulnar nerves
of liposome bupivacaine in prolonging forearm blocks of the me                            at the level of the mid forearm. All blocks were administered under
dian and ulnar nerves and analgesia for subjects with Dupuytren                           ultrasound guidance. The injectate was deemed adequately
contracture release with injections of CCH into the affected cords.                       distributed when it encircled the nerve, as documented by
We primarily tested the hypothesis that adding liposome bupiva                            ultrasound.
caine in forearm blocks would sufﬁciently prolong the sensory                                 The forearm blocks were the sole anesthetic modality for the
block to provide adequate pain relief for Dupuytren contracture                           CCH injections and were administered without premedication. We
release with CCH. We secondarily tested the hypothesis that adding                        chose to use a more proximal approach to median and ulnar nerve
liposome bupivacaine in forearm blocks would improve pain scores                          blocks at the level of the forearm because a more distal approach
in the ﬁrst posttreatment week.                                                           (wrist blocks) failed to provide analgesia during ﬁnger manipula
                                                                                          tion in 43% of patients in a study by Sanjuan Cervero et al.4
                                                                                              Time to onset and offset of sensory blockade was tested in 5
Materials and Methods                                                                     minute intervals from injection of the study medication up to 30
                                                                                          minutes, and hourly thereafter until discharge. Sensory block onset
   This double blind, randomized, controlled trial was approved by                        was deﬁned as time from end of each block procedure to no
the Ethics Committee of Ziekenhuis Oost Limburg, Genk, Belgium                            sensation in the median and ulnar nerve distributions. Sensory
(16/011), and by FAGG, the Belgian federal agency for medicines and                       block duration was deﬁned as time from block onset to time to
health products (2016 001656 22). The trial was registered at                             return of complete sensation. Block success or failure was deﬁned
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as absence or presence of full sensation in the areas and muscles                 bupivacaine HCl, the active component of liposome bupivacaine.10
supplied by the median and ulnar nerves as assessed by pinprick.8                 We selected the SD of 32 hours because there is substantial vari
Inadequate analgesia for phase 2 (ﬁnger manipulation to break up                  ability in duration of nerve blocks with the currently available local
the cords) was deﬁned as the need for additional injections of                    anesthetics. Because liposome bupivacaine is an encapsulated
lidocaine 1% into the affected tissues of the hand to allow for                   formulation that releases an active substance, over 72 hours, an
effective manipulation and cord breakage.                                         even wider variability in block duration might be anticipated.
    Vital signs (blood pressure, heart rate, and oxygen saturation)                   Continuous variables are presented as means (SD) and cate
were monitored every 3 minutes for the ﬁrst 30 minutes after the                  gorical (nominal and ordinal) variables as n (%) or as a ratio as in
block, every 5 minutes up to 1 hour after the block, and every 15                 gender and treated limb laterality. Duration of sensory and motor
minutes until discharge. We obtained 12 lead electrocardiograms                   block was compared between groups by Student t test or Mann
before block and approximately 2 hours after nerve blocks.                        Whitney U test, as appropriate.
                                                                                      The proportions of subjects requiring additional anesthesia for
Posttreatment assessments                                                         phase 2 of treatment were compared between groups by chi square
                                                                                  test.
    Worst pain (modiﬁed Brief Pain Inventory) was reported as a                       Efﬁcacy analyses followed intent to treat principles. Worst pain
numeric rating scale (NRS) score ranging from 0 (no pain) to 10                   was analyzed by generalized estimating equations (GEE) to
(most extreme pain).9 The NRS was recorded before and after block.                examine group differences over time. The GEE method is ﬂexible
    Before discharge home, subjects were given clear instructions                 with respect to the type of outcome variable (including possibly
regarding scheduling and questions that would be asked during the                 skewed continuous distributions and ordinal measures) and to
posttreatment telephone interviews. Speciﬁcally, subjects were                    observations that are unequally spaced over time. For instance,
trained to assess sensation and distinguish among complete                        worst pain is reported at discharge (D0 pm), at D1 am and pm, D2
sensation, light touch, and no sensation. They were also trained to               am and pm, and D3 am and pm, and then on D4, D5, D6, and D7. In
assess the presence or absence of weakness in the blocked hand.                   the GEE analyses, a conservative unstructured correlation structure
Subjects were given a daily diary in which to record the NRS score                was used so as not to assume the relative magnitude of correlation
before taking each dose of rescue medication (tramadol). The                      between any 2 pairs of observations (although GEE is robust against
blinded research staff used standardized scripts to collect pain                  choosing an incorrect correlation structure). Link function was
scores via phone interviews at 24 hours (D1 am), 36 hours (D1 pm),                identity for these continuous outcome measures.
48 hours (D2 am), 60 hours (D2 pm), 72 hours (D3 am), and 84                          Tests of differences between groups for reported side effects
hours (D3 pm), and at D4, D5, D6, and D7. The worst pain was asked                were not planned, because the number of each side effect was
as question 1 from the modiﬁed Brief Pain Inventory: “Please rate                 anticipated to be small, and subjects could report more than one
your pain at its worst in the last 24 hours from 0 (no pain) to 10                side effect. Instead, the relative risk (with 95% conﬁdence interval)
(pain as bad as you can imagine).” This item, based on the NRS, was               for at least one side effect through day 7 was reported.
already familiar to subjects because it was asked during screening                    P < .05 was deemed statistically different.
and in phase 1 of the study. The phone interview inquired about
numbness and weakness or dysesthesias.                                            Results
    Polystyrene foam cups were given to subjects to take home
upon discharge; subjects were instructed that use of these cups                      We assessed 55 patients for eligibility; 32 were randomly
referred to use with the operated hand. The functionality of the                  assigned (16/group) (Fig. 2). The groups did not differ in socio
hand was assessed by asking subjects, “Are you able to use a                      demographic characteristics or severity of disease (Table 1).
polystyrene foam cup?” Training in motor assessments using the                       Duration of sensory block was signiﬁcantly longer in the lipo
polystyrene foam cup was done before the research intervention                    some bupivacaine mixture group compared with the bupivacaine
and repeated before discharge home. In addition, we assessed the                  HClealone group (3.8 [1.1] vs 1.0 [0.3] days, respectively; P < .001).
presence or absence of the sensory and motor block by asking the                  Additional anesthetic intervention to complete phase 2 of treat
patient to report numbness and/or weakness in the operated hand                   ment was required by 15 of 16 subjects (94%) who received bupi
every 12 hours. At the 48 hour visit, the presence or absence of                  vacaine HCl alone, compared with 3 of the 16 subjects (20%) who
sensory block and hand weakness of the intrinsic muscles were                     received the liposome bupivacaine mixture (P < .001). Hence, no
evaluated, as well as the ability to use the polystyrene foam cup.                additional anesthesia was required in 80% of subjects who received
    Subjects returned for ﬁnger manipulation and cord rupture 48                  the liposome bupivacaine mixture.
hours after the CCH injections. Lidocaine 1% was injected if the                     Previous pharmacokinetic analyses in femoral nerve block
subject reported pain during manipulation of the ﬁngers.                          demonstrated that the peak concentration of liposome bupivacaine
    Side effects were recorded through day 7, including nausea,                   occurs during the ﬁrst 72 h interval.10,11 In the current study,
vomiting, fever, constipation, severe itching of the skin, dizziness,             subject reported worst pain (modiﬁed Brief Pain Inventory ques
sleepless nights, excessive sweating, urinary retention, headache,                tion 1) over the ﬁrst 3 posttreatment days was analyzed. General
and heart palpitations.                                                           ized estimating equations (GEE) showed that pain over this interval
                                                                                  was signiﬁcantly lower in subjects who received the liposome
Statistical analysis                                                              bupivacaine mixture compared with those who received bupiva
                                                                                  caine HCl alone (GEE P .010) (Fig. 3).
   The sample size calculation, estimated on duration of sensory                     All subjects underwent a multimodal oral pain regimen
block, assuming a minimum difference important to detect at 48                    throughout the study period. Three subjects took tramadol through
hours (SD, 32 hours), a .01, and power of .90, yielded 15 subjects/               day 7 for breakthrough pain: 2 in the liposome bupivacaine mixture
group. This was increased to 16 subjects/group to accommodate                     group (total dose of 400 and 150 mg, respectively) and one in the
block failures and losses to follow up. If bupivacaine liposome                   bupivacaine HClealone group (100 mg).
injectable suspension is capable of prolonging nerve block, its                      Among subjects who received bupivacaine HCl alone, the pro
pharmacokinetic data suggest that the formulation should have a                   portion who reported numbness decreased rapidly within the ﬁrst
conduction block at least 48 hours longer than non encapsulated                   48 hours. In contrast, numbness appeared to persist through days 3
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                                                                                                                                       Excluded (n = 23)
                                                        Assessed for eligibility                                        .
                                                                       (n = 55)
                                                                                                                               ..
                                                                                                                             Meeting exclusion criteria (n=17)
                                                                                                                                   Oncology (n=S)

                                                                                                                                .. Rheumatoid arthritis (n=2)
                                                                                                                                   Baseline neurological deficits (n = 3)

                                                                                                                                 ..Co(!nitive Impairment ( n=2)
                                                                                                                                   Chronic pain patient (n=l)

                                                                                                                                  ..
                                                                                                                                   Hearing problem (n=l)
                                                                                                                                   Language problem (n=l)
                                                                                                                                   Previous participation In an
                                                              Randomized (n = 32)
                                                                                                                        ..
                                                                                                                                   Exparel• study (n=2)
                                                                                                                             Declined to participate (n=4)
                                                                                                                             Surgery cancelled or postponed (n=2)




                          I                                                                                                            I
      Liposome bupivacaine 1.3%
                                                                                                               Bupivacaine HCI 0.5% (7.5
        (5ml) + bupivacaine HCI
                                                                                                                      ml) alone
         0.5% (2.5 ml) mixture
                                                                                                                       (n = 16)
                (n = 16)


Figure 2. Consolidated Standards of Reporting Trials diagram for 2-arm study of bupivacaine liposome injectable suspension mixed with bupivacaine HCl or bupivacaine HCl alone.



Table 1
Sociodemographic Characteristics and Clinical Features of 32 Patients Undergoing Forearm Blocks of Median and Ulnar Nerves for Dupuytren Contracture Release

  Demographics, pain, and arm functionality before surgery                 Mixture of 5 mL Liposome Bupivacaine 1.3%                       7.5 mL Standard Bupivacaine 0.5% per
                                                                           Plus 2.5 mL Standard Bupivacaine 0.5%                           Median and Ulnar Nerve) (n 16)
                                                                           (per Median and Ulnar Nerve) (n 16)

  Gender (M : F)                                                           14 : 2                                                          14 : 2
  Age, y (range)                                                           66.2 (48 76)                                                    63.5 (35 82)
  Body mass index, kg/m2*                                                  25.7 (0.05)                                                     26.5 (0.04)
  Race (%)
    American Indian/Alaska native                                          0                                                               0
    Asian                                                                  0                                                               0
    Black/African American                                                 0                                                               0
    Native Hawaiian/Paciﬁc Islander                                        0                                                               0
    White                                                                  16 (100)                                                        16 (100)
    Other                                                                  0                                                               0
  American Society of Anesthesiologists physical status (%)
    I                                                                      4 (25)                                                          7 (44)
    II                                                                     10 (63)                                                         8 (50)
    III                                                                    2 (12)                                                          1 (6)
  Surgical side (R : L)y                                                   3 : 13                                                          8:8
  Functionality of surgical hand (before surgery) (%)
    Unable to use                                                          0                                                               0
    Only light activity                                                    0                                                               0
    Able to do some activities                                             0                                                               0
    Able to do most activities                                             0                                                               1 (6)
    Slight restrictions only                                               8 (50)                                                          6 (38)
    Normal                                                                 8 (50)                                                          9 (56)
  NRS (0 10)
    At rest                                                                0.6 (2.0)                                                       0.2 (1.0)
    During movement                                                        1.5 (2.4)                                                       0.4 (0.9)

Data are shown as means (SD) or mean (range) for continuous variables and n (%), ratio, or median (range) for discrete (nominal, ordinal) variables.
 *
   Body mass index was missing for one subject (active comparator group).
 y
   Pearson chi-square (2-sided) P .063; Fisher exact (2-sided) P .14.


and 4 in at least 7 subjects (greater than 40%) who received the                           P .03). Assessment of subjects’ sensorimotor block and ability to
liposome bupivacaine mixture (GEE P          .008) (Fig. 4). Among                         adduct and abduct the ﬁngers (intrinsic hand muscles) by the
subjects who received bupivacaine HCl alone, no weakness was                               research staff just before ﬁnger manipulation at 48 hours revealed
reported within 24 hours after injection. In contrast, subjects who                        that no subject who received bupivacaine HCl alone had residual
received the liposome bupivacaine mixture experienced weakness,                            sensory or motor block. In contrast, all subjects who received
which subsided by the end of the fourth treatment day (GEE                                 liposome bupivacaine had some degree of both sensory and motor
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                                 10
                                                                                                        -+- Bupivacaine HCI alone
                                                                                                              Liposome bupivacaine mixture

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                                      00-PM    DI-AM    DI-PM     D2-AM       D2-PM      03-AM       D3-PM        D4          D5     D6       D7

                                                                         First post-treatment week
Figure 3. Mean worst (NRS) pain scores with 95% conﬁdence interval from discharge after phase 2 through ﬁrst posttreatment week in 32 subjects undergoing forearm blocks for
Dupuytren contracture release (GEE P .01 over the ﬁrst 3 days).




                                                                                                                   ■    Bupivacaine HCI alone
                                                                                                                   ■    Liposome bupivacaine mixture

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                                       DO-PM    DI-AM    DI-PM     D2-AM D2-PM D3-AM D3-PM                        D4         D5      D6       D7

                                                                         First post-treatment week
Figure 4. Sensory block (numbness) from discharge after phase 2 through ﬁrst posttreatment week in 32 subjects undergoing forearm blocks for Dupuytren contracture release.
Among subjects who received bupivacaine HCl alone, the percentage who reported numbness decreased rapidly within the ﬁrst 48 hours; in contrast, numbness appeared to persist
through days 3 and 4 in at least 40% of subjects who received the liposome bupivacaine mixture (GEE P .008).




block and weakness in adduction abduction of the ﬁngers (P <                                Discussion
.001). This indicated that the duration of the blockade with
liposome bupivacaine mixture exceeded that of bupivacaine HCl                                   The addition of liposome bupivacaine 1.33% to bupivacaine HCl
alone. Prolonged numbness and subjectively reported weakness                                0.5% in median and ulnar nerve blocks prolonged the duration of
did not appear to affect hand function, as assessed by subjects’                            sensory block and analgesia compared with bupivacaine HCl alone in
ability to use a polystyrene foam cup throughout the ﬁrst post                              subjects with Dupuytren contracture release with injections of CCH.
treatment week.                                                                             Injections of collagenase resulted in inﬂammatory response, ecchy
    Skin tears frequently occur during ﬁnger manipulation for                               mosis, and swelling of the treated hand in all research subjects,
Dupuytren contracture release. In this study, almost all subjects had                       requiring adequate analgesia. As opposed to subjects treated with
skin tears that were successfully treated by bandaging the hand                             the liposome bupivacaine mixture, nearly all in the active compar
after the cords were released. No subject reported symptoms                                 ator group required lidocaine injections for additional analgesia.
consistent with local anesthetic systemic toxicity, including                               Overall, pain intensity was relatively low in both groups, probably
bradycardia, hypotension, arrhythmia, and seizure. There were no                            because all subjects received multimodal analgesia. Regardless,
differences in occurrence of reported side effects between treat                            worst pain in the ﬁrst 72 hours was lower among subjects who
ment arms (relative risk for at least one side effect      1.33; 95%                        received the liposome bupivacaine mixture than in those who
conﬁdence interval, 0.35e5.03) (Table 2).                                                   received bupivacaine HCl alone. This extended analgesic effect likely
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Table 2                                                                                    bupivacaine 0.5%       37.5 mg) is immediately available for nerve
Frequency of Side Effects Among 32 subjects Undergoing Forearm Blocks of Median            blockade. The duration of blockade by free bupivacaine from the
and Ulnar Nerves for Dupuytren Contracture Release
                                                                                           liposome bupivacaine suspension is limited because only a small
  Side Effect           Mixture of 5 mL Liposome              7.5 mL Bupivacaine           amount of free drug is quickly absorbed. Hence, any duration of
                        Bupivacaine 1.3% Plus 2.5 mL          HCl 0.5% per                 analgesia beyond 36 hours is likely caused by the extended release
                        Bupivacaine HCl 0.5% (per Median      Median and Ulnar
                        and Ulnar Nerve) (n 16)               Nerve) (n 16)
                                                                                           of free bupivacaine from liposome bupivacaine, rather than a
                                                                                           function of the larger total mass of bupivacaine HCl in the liposome
  None                   12 (75)                              13 (81)
                                                                                           bupivacaine group.11,15,16
  Unique subjects with 4 (25)                                 3 (19)
     side effects, n                                                                           A limitation of this study is that surgical dressings made motor
  Total side effects, n* 6 (38)                               5 (31)                       assessments difﬁcult. Nonetheless, analgesic beneﬁt, rather than
  Speciﬁc side effect*                                                                     hand function, was the primary purpose of the study. We therefore
    Bleeding wound       1 (6)                                0
                                                                                           opted to ask the subjects whether they could use a polystyrene
    Dizziness            0                                    1 (6)
    Headache             2 (12)                               1 (6)
                                                                                           foam cup, and about their perception of numbness or weakness in
    Itching of skin      1 (6)                                1 (6)                        the surgical hand. Indirect assessment over the phone of their
    Nausea               0                                    1 (6)                        ability to hold a polystyrene foam cup and their perception of
    Sleepless night      2y (12)                              1 (6)                        numbness and/or weakness of the surgical hand suggested that any
Data are shown as n (%). Percentages of speciﬁc side effects are based on n 16 in          motor block was minor or nonexistent. This could be because
each group. Relative risk for at least one side effect 1.33 (95% conﬁdence interval,       liposome bupivacaine releases small amounts of bupivacaine HCl
0.35 5.03).
  *
                                                                                           over 72 hours after injection, which may be adequate for autonomic
    Percentages for total number of side effects and speciﬁc side effects do not sum
to 100% because some subjects reported more than one side effect.
                                                                                           and sensory blockade but not for motor blockade. The study did not
  y
    Sleepless nights in the same subject on 2 separate dates.                              include plasma pharmacokinetic determination; however, no sub
                                                                                           jects had signs or symptoms of systemic toxicity or electrocardio
                                                                                           gram abnormality suggestive of local anesthetic systemic toxicity.
resulted from the prolongation of sensory blockade by sustained                                Another limitation of the study is that a comparison with local
release of free bupivacaine released from liposomes and was longer                         inﬁltration was not performed, although it is a common practice
by approximately threefold compared with bupivacaine HCl alone                             among hand surgeons. Nerve block and inﬁltration models require
(3.8 vs 1.1 days, respectively; P < .001). The prolonged sensory block                     different methods of drug administration. We believe that a more
did not prevent any subject from using a polystyrene foam cup.                             direct comparison of the efﬁcacy of liposome bupivacaine versus
    Liposome bupivacaine is a novel formulation of bupivacaine HCl,                        bupivacaine HCl was examined by using the nerve block model
and no dosing recommendations or doseeresponse studies in the                              alone. Nonetheless, because local inﬁltration is a common practice
distal peripheral nerves of the upper extremity were available from                        among hand surgeons, future studies that include an inﬁltration
the literature. Nonetheless, limited dosing information is available                       arm of the trial should be conducted.
from several studies in which the drug was used for the brachial                               The addition of liposome bupivacaine prolonged sensory block
plexus block and the larger nerve blocks. For instance, injection of                       for both phases of Dupuytren contracture release and improved
133 mg (10 mL) of liposome bupivacaine resulted in successful                              pain scores in the ﬁrst posttreatment week. Future studies of the
femoral block.12 Moreover, 5 mL of 0.25% bupivacaine HCl imme                              efﬁcacy of liposome bupivacaine in more extensive and recon
diately followed by 10 mL of liposome bupivacaine 133 mg in the                            structive hand surgeries are indicated. Studies should also be
interscalene brachial plexus block prolonged sensory block and                             conducted to determine the doseeresponse and best anatomical
analgesia with the same volume (15 mL) of bupivacaine 0.25%.6                              sites of application of liposome bupivacaine that optimize nerve
Because the median and ulnar nerve surface areas to be blocked                             exposure to small amounts of active drug released in a sustained
in the current study are 30% to 50% that of the femoral nerve, we                          fashion from the liposomes, detailed examination of the hand
empirically chose to mix 5 mL of liposome bupivacaine and 2.5 mL                           function after forearm blocks with liposome bupivacaine, and cost
of bupivacaine HCl 0.5%.13,14 We relied on the relative difference in                      efﬁcacy of the treatments.
anatomical size between the femoral nerve and the smaller pe
ripheral nerves to approximate the dosing for the current study.                           Acknowledgments
Although this may not be an ideal dose or mixture, there was no
guidance in the literature suggesting a different dose. Bupivacaine                            This study was supported by a research grant from Pacira
HCl 0.5% was added to liposome bupivacaine to speed the onset of                           Pharmaceuticals, Inc (Parsippany, NJ). Pacira Pharmaceuticals was
anesthesia for the CCH injection procedure because the liposome                            not involved in study design; in data collection, analysis, or inter
bupivacaine suspension contains only 3% of free drug available for                         pretation; in writing of this report; or in the decision to submit this
immediate blockade, which would not be adequate to result in fast                          article for publication. The authors would like to acknowledge the
onset of the blockade.                                                                     orthopedic surgical and nursing team at Ziekenhuis Oost Limburg
    The liposome bupivacaine group received a larger total dose of                         who facilitated patient care (Joelle Caretta, RN, Sonja Moonen,
bupivacaine: 79 mg of bupivacaine HCl (a combination of 66.5 mg                            RN, Birgit Lohmar, RN, and Ine Vanweert, RN) and the research team
bupivacaine HCl in liposome bupivacaine 5 mL plus 12.5 mg                                  at Ziekenhuis Oost Limburg who collected the subject assessments
bupivacaine HCl) compared with the bupivacaine HClealone group                             and followed the subjects by phone after discharge (Ingrid Meex,
(37.5 mg bupivacaine HCl). Nonetheless, the actual dose of free                            PhD, Marijke Cipers, RN, and Gülhan Ozyürek, MSc).
bupivacaine available for nerve blockade after injection was larger
in the bupivacaine HClealone group than in the liposome bupiva
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                             EXHIBIT C
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                                                                                                                    Van Boxstael et al., Clin Res Foot Ankle 2019, 7:3


                    Clinical Research on Foot & Ankle
 Research Article                                                                                                                                   Open Access

Analgesia after Hallux Valgus Osteotomy Posterior Tibial and Deep
Peroneal Nerve Ankle Blocks with Bupivacaine Liposome Injectable
Suspension+Bupivacaine HCl vs. Bupivacaine HCl vs. General An esthesia
Alone: A Randomized Clinical Trial
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Received date: September 25, 2019; Accepted date: October 07, 2019; Published date: October 14, 2019
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                 Abstract

                   Background: Many patients having hallux valgus osteotomy report sustained postoperative pain. We
                 hypothesized that the addition of bupivacaine liposome injectable suspension to bupivacaine HCI in ankle blocks
                 decreases postoperative pain and opioid consumption compared to bupivacaine HCI alone or to general anesthesia
                 (GA).

                    Methods: After EC and FAGG approval, 40 subjects scheduled for corrective osteotomy received ultrasound-
                 guided blocks of the posterior tibial and deep peroneal (ankle) nerves with a mixture of liposome bupivacaine 1.33%
                 and bupivacaine HCI 0.5% (5 ml and 2.5 ml, respectively, per nerve; n=12), bupivacaine HCI 0.5% alone (7.5 ml per
                 nerve; n=14), or GA alone (n=14). All received multimodal postsurgical analgesia and opioids for breakthrough pain.
                 Pain scores and opioid consumption were assessed through the first postoperative week.

                    Results: The blocked groups had lower pain scores (GEE p=0.016) and shorter PACU stay than the GA group.
                 Mean total opioid consumption exhibited stepwise differences from 9.6 MME (mg morphine equivalents) in the
                 liposome bupivacaine mixture group, 26.8 MME in the bupivacaine HCI alone group, to 60.4 MME in the GA group.
                 Compared to the bupivacaine HCI alone and GA groups, a greater proportion of subjects who received the liposome
                 bupivacaine mixture were able to ambulate through Day 4 (GEE p=0.007). There were no neurological deficits.

                    Conclusion: Addition of liposome bupivacaine in ultrasound-guided ankle blocks prolongs analgesia and
                 decreases opioid consumption compared to bupivacaine HCI alone and GA, and improves ambulation after hallux
                 valgus surgery.


Keywords: Bupivacaine liposome injectable suspension; Hallux                        application in ankle blocks is effective, addition of liposome
valgus; Ankle block; Analgesia                                                      bupivacaine to bupivacaine HCl could extend the duration of sensory
                                                                                    blocks and analgesia (9,10). In one study, femoral nerve blocks with
Introduction                                                                        liposome bupivacaine modestly improved analgesia compared to
                                                                                    placebo in patients having knee arthroplasty (11 ). In another study of
   Corrective osteotomy for hallux valgus repair is a painful procedure             brachial plexus blocks, addition of bupivacaine liposome suspension
that is commonly done on an outpatient basis [1) Peripheral nerve                   extended the duration of analgesia in patients having shoulder surgery
blocks can be used in the perioperative care of patients undergoing this            (12). In April 2018, the US FDA approved liposome bupivacaine for
type of surgery to improve postoperative pain (2). However, the                     use in the interscalene block. However, no study to date has evaluated
duration of action of the currently available local anesthetics is often            the efficacy of liposome bupivacaine in the distal peripheral nerves of
insufficient for effective postoperative pain management, even with                 the lower extremity as compared to the active comparator, bupivacaine
adjuvants such as clonidine or dexamethasone (3,4). Moreover, some                  HCl alone.
researchers suggest that when the blocks wear off before resolution of
postoperative pain, patients may experience return of severe pain (5).                 This randomized clinical trial compares level of postoperative pain
Efforts to improve postoperative pain management have led to                        relief conferred by ultrasound guided ankle blocks administered with a
                                                                                    liposome bupivacaine mixture to that conferred by 0.5% bupivacaine
increases in opioid prescriptions, (6). However, opioid usage can lead
to tolerance, worse treatment outcomes, addiction and overdose deaths               HCl alone or to GA in patients having corrective osteotomy for hallux
(7). An extended release formulation of bupivacaine liposome                        valgus. We hypothesized that the liposome bupivacaine mixture
injectable suspension (EXPAREL", Pacira Pharmaceuticals, Parsippany,                prolongs analgesia and decreases opioid consumption as compared to
NJ, USA) has been approved for infiltration (8). If its perineural                  bupivacaine HCl alone or to GA in the setting of postoperative



Clin Res Foot Ankle, an open access journal                                                                                         Volume 7 • Issue 3 • 1000291
ISSN: 2329 910X
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Citation:   Van Boxstael S, Wierinckx J, Vandepitte CF, Leunen I, Kuroda MM, et al. (2019) Analgesia after Hallux Valgus Osteotomy Posterior
            Tibial and Deep Peroneal Nerve Ankle Blocks with Bupivacaine Liposome Injectable Suspension+Bupivacaine HCl vs. Bupivacaine HCl
            vs. General Anesthesia Alone: A Randomized Clinical Trial. Clin Res Foot Ankle 7: 291.


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multimodal analgesia. We further hypothesized that the three groups            Prior to performing the blocks, all subjects had an intravenous line
would differ in their ability to ambulate.                                  and standard ASA monitors placed. The blocks were performed in a
                                                                            ‘block room’ at least 30 min prior to surgery with the subjects in
Level of Evidence                                                           supine. The skin was disinfected with an alcohol solution of
                                                                            chlorhexidine. A subcutaneous infiltration with 5 ml of 0.25%
  Level II, therapeutic study.                                              bupivacaine was used to block the cutaneous nerve branches on the
                                                                            medial aspect of the distal foot.
Materials and Methods                                                          A high frequency (12 MHz) linear transducer was placed between
   This double blind randomized controlled trial was approved by the        the medial malleolus and the Achilles tendon, and the posterior tibial
Ethics Committee, by the federal agency for medicines and health            nerve was identified in the vicinity of the posterior tibial artery.
products and registered with clinicaltrials.gov. Eligible subjects were     Subjects assigned to the liposome bupivacaine mixture received an
scheduled for unilateral hallux valgus repair by corrective (Scarf)         ultrasound guided perineural injection of 7.5 ml of the mixture, while
osteotomy. Inclusion criteria were male or female, 18 65 years of age,      subjects assigned to the bupivacaine HCl alone group received an
American Society of Anesthesiologists (ASA) physical status I III, able     ultrasound guided perineural injection of 7.5 ml of bupivacaine HCl
to understand the purpose and risks of the study, and able to discern       0.5%. All blocks were performed using a Uniplex Nanoline 25 G 35
sensory function to cold, pinprick, and light touch. Subjects were          mm stimulating needle (Pajunk® GmbH Medizintechnologie,
excluded if they were pregnant, were scheduled for bilateral repairs or     Geisingen, Germany). The posterior tibial nerve was identified
had a previous hallux valgus repair on the ipsilateral side. Exclusion      underneath the medial retinaculum and in the vicinity of the tibial
criteria also comprised a history of allergy to local anesthetics or pain   artery. The deep peroneal nerve was located between the two malleoli
medications given for our standard institutional multimodal                 and lateral to the anterior tibial artery. For each nerve, subjects
postoperative pain management (Diclofenac, acetaminophen,                   assigned to the liposome bupivacaine mixture received an ultrasound
tramadol), had a suspected or known recent history (<3 months) of           guided perineural injection of 7.5 ml of the mixture, while subjects
drug or alcohol abuse, infection at the planned block site, body weight     assigned to the bupivacaine HCl alone group received an ultrasound
<40 kg (88 pounds) or body mass index >44 kg/m2, any chronic                guided perineural injection of 7.5 ml of bupivacaine HCl. Thus, for the
neuromuscular deficit affecting the peripheral nerves or muscles of the     two nerves, a total of 15 ml was administered in the blocked groups.
surgical extremity, or any chronic condition or psychiatric disorder        The described ultrasound guided ankle block is the standard protocol
that would interfere with neurological or other study assessments.          in our center for hallux valgus correction with first metatarsal
                                                                            osteotomy. It provides good surgical anesthesia and postoperative
   Consenting subjects were randomized in a computer generated 1:1:1        analgesia without foot drop that is seen in sciatic nerve popliteal nerve
ratio to receive (A) Ultrasound guided specific ankle blocks of the         block. Preoperatively, all subjects received ketorolac 30 mg and
posterior tibial and deep peroneal nerves with a liposome bupivacaine       acetaminophen/paracetamol 1 g prior to the start of surgery. Block
mixture consisting of bupivacaine liposome injectable suspension 1.3%       failure was defined as unsatisfactory analgesia as reported by the
(5 ml) and 0.5% bupivacaine HCl (2.5 ml) per nerve (7.5 ml per nerve;       subject in the first 2 h postoperatively or a need to convert to GA for
15 ml total), (B) Ultrasound guided specific ankle blocks of the            surgery.
posterior tibial and deep peroneal nerves with 0.5% bupivacaine HCl
alone (7.5 ml per nerve; 15 ml total), or (C) GA. In addition, all
                                                                            General anesthesia
subjects received the standard regimen for postoperative pain control
with Diclofenac 75 mg BID and paracetamol/acetaminophen 1 g q6 h.              Subjects received a standardized general anesthesia. Induction was
Transmucosal tramadol 50 mg (q6 h, PRN) was used for breakthrough           performed with propofol Target Controlled Infusion (TCI) 4.0 6.0
pain.                                                                       mcg/ml-1 and fentanyl 3 mcg/kg-1. Subjects subsequently received
                                                                            intravenous ondansetron 4 mg, ketorolac 30 mg, and acetaminophen 1
   Anesthesiologists who performed the nerve blocks were not blinded
                                                                            g. After induction, a laryngeal mask was placed and anesthesia was
to drug treatment arm but did not participate in subject assessments.
                                                                            maintained with N20 50% and propofol TCI 3.0 4.0 mcg/ml-1.
Surgeons and research personnel were blinded to treatment arm as
blocks were performed in a separate block room outside of the
operating theater. To maintain blinding, all subjects received dressings    Postoperative management and assessments
as they would for regional anesthesia procedures before entering the           All subjects were discharged with a standardized postoperative pain
OR. Block onset and offset times were recorded by personnel who did         treatment consisting of acetaminophen/paracetamol 1 g q6h and
not participate in the postoperative assessments. Subjects were not told    diclofenac 75 mg BID. Transmucosal tramadol 50 mg (q6h PRN) was
their allocated treatment. Subjects remained at the Surgery Day Care        used for breakthrough pain. No other postoperative opioids were
Center until reaching a Modified Post Anesthesia Discharge Scoring          allowed. Upon injection, sensory block was measured by cold,
System (MPADSS) rating of at least 9 [13].                                  pinprick, and light touch testing. Sensory block (rated as complete
                                                                            sensation; paresthesia, light touch; anesthesia, no sensation) was
Nerve blocks (posterior tibial and deep peroneal)                           assessed at baseline (0 min) and every 5 min up to 30 min, at 1 and 2 h,
                                                                            and at hospital discharge. Worst pain (Modified BRIEF) was reported
   All blocks were administered under ultrasound guidance.
                                                                            as a Numeric Rating Scale (NRS) score ranging from 0 (no pain) to 10
Distribution of the injectate was deemed adequate when it encircled
                                                                            (most extreme pain) [14]. The NRS was recorded pre and post block.
the tibial and deep peroneal nerves. A confirmatory ultrasound image
                                                                            Blinded research staff collected NRS via phone interviews at 24 h (D1
of injectate distribution was obtained by the unblinded investigator for
                                                                            am), 36 h (D1 pm), 48 h (D2 am), 60 h (D2 pm), 72 h (D3 am), 84 h
each nerve, and maintained in a sealed envelope and placed in a locked
                                                                            (D3 pm), and at D4, D5, D6 and D7. Discharge readiness from the
cabinet.
                                                                            surgery day care center was evaluated by the MPADSS, an objective



Clin Res Foot Ankle, an open access journal                                                                            Volume 7 • Issue 3 • 1000291
ISSN: 2329 910X
    Case 2:21-cv-09264-MCA-JSA Document 3-7 Filed 04/14/21 Page 27 of 31 PageID: 527
Citation:   Van Boxstael S, Wierinckx J, Vandepitte CF, Leunen I, Kuroda MM, et al. (2019) Analgesia after Hallux Valgus Osteotomy Posterior
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            vs. General Anesthesia Alone: A Randomized Clinical Trial. Clin Res Foot Ankle 7: 291.


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assessment for managing fair and safe discharge from the hospital            and subjects could report more than one side effect. Instead, the
setting which considers vital signs, ambulation, nausea and vomiting,        relative risk (with 95% confidence interval, CI) for at least one side
pain, and surgical bleeding. Patients who achieve a score of 9 or more       effect through Day 7 was reported. The Statistical Package for the
are considered ready for discharge [13]. Subjects were assessed through      Social Sciences (IBM SPSS Statistics for Windows, Version 22.0,
follow up phone calls at 24 h (D1 am), 36 h (D1 pm), 48 h (D2 am), 60        Armonk, NY: IBM Corp.) was used for the analyses. p values < 0.05
h (D2 pm), 72 h (D3 am), 84 h (D3 pm), and on D4, D5, D6 and D7 to           were deemed to be beyond chance.
query their use of opioids, presence/absence of numbness and/or
weakness in the surgical foot, their ability to walk 10 steps and            Results
presence of any side effects through the first postoperative week.
                                                                                Forty two subjects (14/group) were randomly assigned. Upon
   Side effects, recorded through Day 7, included nausea, vomiting,          surgical examination in the OR, two subjects, both randomly assigned
fever, constipation, severe itching of the skin, dizziness, sleepless        to the general anesthesia group, required more extensive procedures
nights, excessive sweating, urinary retention, headache, and heart           than the corrective osteotomies specified for this trial; no further data
palpitations. Persistent neurological deficit was defined as any presence    were collected for these subjects (Figure 1). The groups did not differ in
of sensory deficit or paresthesia in the distributions of the posterior      their sociodemographic characteristics or clinical features (Table 1).
tibial and deep peroneal nerves at the subject’s follow up visit with the    All subjects successfully completed the protocol in their assigned
surgeon approximately 29 days post surgery. Any occurrence of                groups; there were no block failures.
neurological deficit was followed until the deficit resolved.
                                                                                Ankle blocks significantly reduced pain scores through the first
Statistical analysis                                                         postoperative week (GEE p=0.016) (Figure 2). Mean total
                                                                             postoperative opioid consumption was highest in the GA alone group
    Sample size estimations are based on the primary outcome, here, the      (60.4 MME), slightly higher than the overall median in the bupivacaine
Numeric Rating Scale (NRS) an 11 point metric that has good                  HCl alone group (26.8 MME), and lowest in the liposome bupivacaine
reliability and validity. The ~30% difference clinically important to        mixture group (9.6 MME) (p<0.001). Bonferroni corrected p values
detect was deemed to be 3 points on the NRS as suggested by Farrar et        for these stepwise differences revealed GA alone compared to
al. [15] for chronic pain patients, by Krebs et al. [16] for primary care    bupivacaine HCl alone (p=0.048) and to liposome bupivacaine mixture
patients motivated to see a physician because of pain, and more              (p<0.001); bupivacaine HCl alone compared to liposome bupivacaine
recently by Leigheb et al. [17] for acute pain patients seen in an           mixture (p=0.152) (Figure 3). Figure 4 shows the mean daily opioid
emergency department. As described in that narrative and in the              consumption between the three groups. Subjects who received an
manuscript, 14 subjects per group were required to test differences in       ankle block were discharged from the PACU approximately 30 min
NRS important to detect (Δ) 3.0 and standard deviation 2.5 at 2 sided        after surgery, whereas patients who received GA alone stayed
Type I error (α) 0.05 and power (1 β). Continuous variables are              significantly longer in the PACU (31.4 ± 13.9 vs. 69.3 ± 32.5 min,
presented as mean ± standard deviation; discrete (nominal, ordinal)          respectively, p=0.002). Duration of sensory block was longer in the
variables as n (%). Efficacy analyses followed intent to treat principles.   liposome bupivacaine mixture group than in the bupivacaine alone
To address the primary research hypothesis, worst pain and                   group (93.8 ± 41.6 versus 62.2 ± 19.6 h, p=0.03). A greater proportion
ambulation were analyzed by generalized estimating equations (GEE)           of subjects who received the liposome bupivacaine mixture were able
to examine group differences over time. GEE is flexible with respect to      to ambulate daily (walk 10 steps) through Day 4 compared to the
type of outcome variable (including possibly skewed continuous               bupivacaine HCl alone and GA groups (GEE p=0.007). No subject
distributions and ordinal measures) and to unequally spaced                  reported symptoms consistent with local anesthetic systemic toxicity
observations over time. For instance, worst pain and satisfaction with       (LAST), including bradycardia, hypotension, arrhythmia, seizure. Side
pain control are reported at discharge (D0 pm), at D1 am and pm, D2          effects occurred with low but similar relative risk with no differences
am and pm, D3 am and pm, and then on D4, D5, D6 and D7. In the               among the groups (Table 2). There were no persistent neurological
GEE analyses, a conservative unstructured correlation structure was          deficits.
used in order not to assume the relative magnitude of correlation
between any two pairs of observations (though GEE is robust against
choosing an incorrect correlation structure). Link function was                                                   HALLUX VALGUSSU RGEf\Y
                                                                                                                          n: dl
‘identity’ for these continuous outcome measures.
   The only postoperative opioid allowed as per protocol was tramadol.             GEN:f:RAL ANESTHESIA (GA)
                                                                                             n• 14
                                                                                                                           ANKLE BLOCK (POSTERIOR TIBIAL& DEEP PERONEAL NERVES)
                                                                                                                                                   n=l8
Postoperative tramadol consumption was converted into milligram
morphine equivalents (MME) to provide a standard unit. According to
Korff et al. 10 mg tramadol PO equals 1 mg morphine PO [18]. The
data was submitted to a 1 way ANOVA. Comparison of pairwise group                                                       7.5ml bupivac.arle HCI 0.5%
                                                                                                                           pttnerve(total15mL)
                                                                                                                                                              2.5mL bupftlacarle Ha 0.5% &
                                                                                                                                                                SmL Ii po some bupiltaurle

differences were Bonferroni corrected. Duration of sensory block was                                                              n=14
                                                                                                                                                               1 .3% per nerve (tot11I 15ml)
                                                                                                                                                                            n=12

defined as time to reach complete sensation or full strength,                                                  ALL SUBJECTS RElllVED MULT IMODA L ANALGESIA :
respectively, and was compared by Student t test between the two                                                   diclofenac; paracl!'tamo l/acetamrlophen

treatment groups that received nerve blocks; p<0.05 deemed
statistically significant. The GA group was not included in these             Figure 1: CONSORT diagram.
analyses.
   Tests of differences among groups for reported side effects were not
planned as the number of each side effect was anticipated to be small,




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                                                                          Liposome bupivacaine mixture                                              General anesthesia
 Variables                                                                (n=12)                                 Bupivacaine HCl alone (n=14)       (GA) (n=14)

 Gender (M:F)                                                             01:11                                  00:14                              00:14

 Mean Age in y (SD)                                                       47.1 ± 14.0                            46.5 ± 13.7                        44.7 ± 11.4

 BMean MI in kg/m2 (SD)                                                   25.1 ± 2.8                             23.8 ± 3.5                         22.5 ± 2.4

 Race, n (%)

 American Indian/Alaska na ive                                            0                                      0                                  0

 Asian                                                                    0                                      0                                  0

 Black/African American                                                   0                                      1 (7)                              0

 Native Hawaiian/Pacific islander                                         0                                      0                                  0

 White                                                                    12 (100)                               13 (93)                            14 (100)

 Other                                                                    0                                      0                                  0

 ASA physical status, n (%)

 I                                                                        9 (75)                                 10 (71)                            8 (57)

 II                                                                       3 (25)                                 4 (29)                             6 (43)

 III                                                                      0                                      0                                  0

 Surgical side (R:L)                                                      07:05                                  05:09                              03:10

 Functionality of surgical foota, n (%)

 Slight restrictions only                                                 4 (33)                                 2 (14)                             4 (31)

 Normal                                                                   8 (67)                                 12 (86)                            9 (69)

 Numeric Rating Scale (NRS)(0-10)b (SD)

 At rest                                                                  0.2 (0.6)                              0.8 (1.5)                          0.8 (1.7)

 During movement                                                          4.2 (2.7)                              3.0 (2.4)                          4.5 (2.6)

 aFunctionality missing on 1 subject (GA group), despite of pain, patients did not report limitations in their normal activity


 bPre-block NRS rest and movement scores missing on 1 subject (GA group)




Table 1: Sociodemographic characteristics and pre block clinical features of 40 subjects undergoing ankle blocks or general anesthesia for
corrective osteotomy for hallux valgus.




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                                         First postoperative week




                                                                                                         Figure 3: Mean total opioid use (mg morphine equivalent with
 Figure 2: Mean worst pain (Modified BRIEF Q1) (NRS scores with                                          standard deviations) through the first postoperative week in 40
 standard errors) from discharge through the first postoperative                                         subjects undergoing corrective osteotomy for hallux valgus
 week in 40 subjects undergoing corrective osteotomy for hallux                                          (poverall F<0.001). p values for pairwise comparisons Bonferroni
 valgus (overall p=0.016).                                                                               corrected.




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                                                                    First postoperative week

               ....... General anesthesia                   ....., Bupivacai ne HCI only                  ....- Liposome bupivacai ne
                                                                                                                mixture
 Figure 4: Percent able to ambulate (walk 10 steps) in 40 subjects undergoing corrective osteotomy for hallux valgus in the first postoperative
 week (overall p=0.007).



                                                        Liposome bupivacaine mixture             Bupivacaine HCl alone    General anesthesia (GA)
Adverse eventa                                          (n=12)                                   (n=14)                   (n=14)

Unique subjects reporting adverse eventsb               3                                        8                        6

No. of adverse events                                   5                                        16                       18

Adverse events

Nausea                                                  2                                        3                        10

Vomiting                                                2                                        -                        2

Fever                                                   -                                        -                        -

Constipation                                            -                                        1                        -

Severe itching of the skin                              -                                        3                        -

Dizziness                                               1                                        7                        3

Sweating                                                -                                        -                        1

Urinary retention                                       -                                        -                        1

Headache                                                -                                        1                        1

Heart palpitations                                      -                                        1                        -

aTotal percentages do not sum to 100% as some subjects reported >1 adverse event


bRelative risk for at least 1 adverse event


Liposome bupivacaine mixture and bupivacaine HCl alone: 2.3 (95% CI 0.8, 6.7)

Liposome bupivacaine mixture and GA: 0.6 (95% CI 0.2, 1.8)

 Bupivacaine HCl alone and GA: 1.3 (95% CI 0.6, 2.8)


Table 2: Adverse events reported by 40 subjects undergoing corrective osteotomy for hallux valgus with ankle blocks or general anesthesia in the
time interval from PACU discharge to postoperative Day 7.



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Discussion                                                                  is limited as the drug is quickly absorbed from the site of injection and,
                                                                            therefore, unavailable for re uptake by NaCl channels as the block
   To our knowledge, this study is the first to examine the analgesic       wears off. Therefore, any duration of analgesia beyond 36 hours is
effect of liposome bupivacaine administered perineurally to block the       likely due to the extended release of bupivacaine HCl from liposome
distal peripheral nerves of the lower extremity. The addition of            bupivacaine, rather than a function of the larger total mass of
liposome bupivacaine to bupivacaine HCl 0.5% reduced pain and               bupivacaine HCL in the liposome bupivacaine group.
mean opioid consumption after hallux valgus correction with first
metatarsal osteotomy. Duration of sensory block was longer in subjects         A potential risk of exparel in ankle block is that patients may lack of
who received the liposome bupivacaine mixture without hindering             protective sensation due to the prolonged nerve blockade. No adverse
ambulation; these subjects were better able to ambulate than subjects       events were reported. As per protocol all subjects received verbal and
who received bupivacaine HCl alone or GA.                                   written instructions on how to keep the limb protected until complete
                                                                            recuperation of sensory block.
   Deaths from prescription opioids have more than quadrupled since
1999 [19]. Prescription opioids in the postoperative setting of                Even more the subjects all had postoperative bandages at the level of
orthopedic surgery have been identified as a major factor in the            the forefoot for one week which impaired proprioception as well and
current opioid pandemic [20]. Subjects given the liposome bupivacaine       served as a protection for potential harmful stimuli in the forefoot.
mixture used far less opioids as rescue medication for their                   A limitation of this study is its relatively small sample size. As
postoperative pain than subjects given GA, and even when compared           described, sample size was estimated on the NRS pain scores and
to subjects given bupivacaine HCl alone. Thus methods of conferring         assumed a commonly used minimum difference important to detect of
effective postsurgical analgesia by extended nerve blocks may help to       3 NRS points. Likewise, we anticipated a large standard deviation that
reduce or minimize the need for opioid prescriptions in the                 reflects wide variability in duration of peripheral nerve blocks [23].
management of postoperative pain.                                           Even larger variability in block duration could be anticipated with the
    Liposome bupivacaine is a novel formulation of bupivacaine,             liposomal formulation due to the slow and extended release of its
approved for infiltration but not for peripheral nerve blocks.              active substance, bupivacaine HCl, over a longer postoperative interval
Consequently, no dosing recommendations were available in the               (72 hours) [23]. Another limitation of this study is that use of tramadol
literature to guide dose and mixture selection for the current trial.       for breakthrough pain and postoperative pain scores were not treated
Nonetheless, some dosing information is available from several studies      in an integrated analysis [24]. However, such analyses would likely
in which the drug has been used to block the larger nerves and the          require the accuracy afforded by IV PCA delivered opioids to subjects
brachial plexus. For instance, injection of 133 mg (10 ml) of liposome      admitted as inpatients for longer than 24 h. The information of
bupivacaine resulted in successful femoral block [11]. In another study,    consumption of tramadol tablets was collected by phone interview
5 ml of 0.25% bupivacaine HCl immediately followed by 10 ml of              without an actual pill count; therefore a potential reporting bias on
liposome bupivacaine 133 mg in interscalene brachial plexus block           opioid consumption cannot be excluded.
prolonged sensory block and analgesia of the same (15 ml) volume of
bupivacaine HCl 0.25% [12]. The only other studies available to us          Conclusion
where liposome bupivacaine was studied for forefoot surgery used
wound infiltration in patients having forefoot surgery, whereas ankle         In conclusion, addition of liposome bupivacaine in ultrasound
block were accomplished with and lidocaine 2% or a mixture of               guided ankle blocks prolongs analgesia and decreases opioid
lidocaine 1% and marcaine 0.5% [21,22].                                     consumption compared to bupivacaine HCl alone and GA and
                                                                            improves ambulation after hallux valgus surgery.
   Since the nerve surface area of the posterior tibial and deep peroneal
nerves is 50% that of the femoral nerve, we empirically chose to mix 5      Acknowledgement
ml of liposome bupivacaine and 2.5% of bupivacaine HCl 0.5%. Thus
the relative difference in anatomical size between the femoral nerve           The authors would like to acknowledge the help of our orthopedic
and the smaller peripheral nerves was used to calculate the dosing for      surgical and nursing team and our block nurses (Joëlle Caretta, Sonja
the current study.                                                          Moonen, Birgit Lohmar, Ine Vanweert, Marijke Cipers, Gülhan
                                                                            Özyürek).
   Bupivacaine 0.5% was added to liposome bupivacaine to accomplish
rapid onset of anesthesia for the procedure. The liposome bupivacaine
suspension contains only 3% of the free drug available for immediate        Conflict of Interest
blockade, which would not be adequate for fast onset of the block.            This study was supported by a research grant from Pacira
Finally, the liposome bupivacaine mixture group received a larger total     Pharmaceuticals, Inc. (Parsippany, NJ, USA). Dr. Hadzic serves as a
dose of bupivacaine: 79 mg of bupivacaine HCl (combination of 66.5          consultant to Pacira Pharmaceuticals, Inc. and has received consulting
mg bupivacaine HCl in liposome bupivacaine 5 ml + 12.5 mg                   honoraria, educational and research grants.
bupivacaine HCl) compared to the bupivacaine HCl alone group (37.5
mg bupivacaine HCl). However, the duration of free bupivacaine HCl




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Clin Res Foot Ankle, an open access journal                                                                                       Volume 7 • Issue 3 • 1000291
ISSN: 2329 910X
